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EXHIBIT B
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1                  IN THE UNITED STATES DISTRICT COURT                   1                                 INDEX TO WITNESSES
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
2                                                                        2    KEVIN DENT                   DIRECT CROSS REDIRECT RECROSS
     ANTHONY BARASKY,                   :
3                 Plaintiff                                              3    Examination by:
                                        :
4                                                                        4     Mr. Gryskewicz                4            --       103,118,120   --
          vs.                           :
5                                                                        5     Ms. Laughlin                  --           89          118        --
                                        :
6    KEVIN DENT, TYSON HAVENS,              CASE NO. 4:21-CV-02041       6     Mr. White                     --           93        114, 119     --
     JOSHUA BELL, CLINTON               :
7    GARDNER, CHRISTOPHER                                                7
     KRINER, JOSEPH HOPE,               :
8    LYCOMING COUNTY, OLD                                                8
     LYCOMING TOWNSHIP; and             :
9    CITY OF WILLIAMSPORT,                                               9
                     Defendants         :
10                                                                       10

11                                                                       11

12                                                                       12                                 INDEX TO EXHIBITS
13              Deposition of:       KEVIN DENT                          13   FOR - PLAINTIFF                                         MARKED ADMITTED
14              Taken by         :   Plaintiff                           14   Plaintiff's Exhibit No. 1                                 10       --
15              Before           :   Ervin S. Blank                      15   Plaintiff's Exhibit No. 2                                 17       --
                                     Reporter-Notary Public
16                                                                       16   Plaintiff's Exhibit No. 3                                 31       --
                Beginning        :   March 22, 2024; 8:59 a.m.
17                                                                       17   Plaintiff's Exhibit No. 4                                 35       --
                Place            :   McCormick Law Firm
18                                   835 West Fourth Street              18   Plaintiff's Exhibit No. 5                                 42       --
                                     Williamsport, Pennsylvania
19                                                                       19   Plaintiff's Exhibit No. 6                                 45       --
20                                                                       20   Plaintiff's Exhibit No. 7                                 49       --
21                                                                       21   Plaintiff's Exhibit No. 8                                 54       --
22   COUNSEL PRESENT:                                                    22   Plaintiff's Exhibit No. 9                                 62       --
23       LEONARD GRYSKEWICZ, JR., ESQUIRE                                23   Plaintiff's Exhibit No. 10                                71       --
         Lampman Law
24       2 Public Square                                                 24   Plaintiff's Exhibit No. 11                                90       --
         Wilkes-Barre, Pennsylvania 18701
25            For - Plaintiff                                            25   Plaintiff's Exhibit No. 12                               114       --

                                                                     2                                                                                  4
1    COUNSEL PRESENT: (CONTINUED)                                        1                                    STIPULATION
2        AUSTIN WHITE, ESQUIRE                                           2                 It is hereby stipulated by and between
         McCormick Law Firm
3        835 West Fourth Street                                          3    counsel for the respective parties that signing,
         Williamsport, Pennsylvania 17701
4              For - Defendants Kevin Dent and Tyson Havens              4    sealing, certification and filing are hereby waived;
5        SHAWNA R. LAUGHLIN, ESQUIRE                                     5    and that all objections except as to the form of the
         William J. Ferren & Associates
6        P.O. Box 2903                                                   6    question are reserved to the time of trial.
         Hartford, Connecticut 06104-2903
7              For - Defendants Joshua Bell, Clinton Gardner             7
                  and City of Williamsport
8                                                                        8                                        *   *        *
         MARK J. KOZLOWSKI, ESQUIRE
9        Marshall Dennehey                                               9
         P.O. Box 3118
10       Moosic, Pennsylvania 18507                                      10                KEVIN DENT, called as a witness, having been
              For - Defendants Old Lycoming Township,
11                Joseph Hope and Christopher Kriner                     11   duly sworn or affirmed, testified as follows:
12                                                                       12                                DIRECT EXAMINATION
13                                                                       13   BY MR. GRYSKEWICZ:
14                                                                       14         Q      Detective Dent, have you ever been deposed
15                                                                       15   before?
16                                                                       16         A      I have not.
17                                                                       17         Q      I'm going to give you a couple ground rules.
18                                                                       18   Your attorney probably already told you some. If you
19                                                                       19   don't understand a question I ask, just tell me. I
20                                                                       20   can rephrase it. If you don't know an answer to a
21                                                                       21   question or don't remember, those are also fine
22                                                                       22   answers. I don't want you to speculate. I will not
23                                                                       23   cut you off when you're giving an answer and provide
24                                                                       24   you the courtesy of answering the full question. I
25                                                                       25   would ask you to do the same when I'm asking questions


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1    to you. And if you need a break or anything during             1          A     We would -- if we need more manpower or a
2    the deposition, just let us know.                              2    uniform presence to make a traffic stop, if we need
3           A   Okay.                                               3    assistance with a search warrant, we'll contact the
4           Q   Okay? Could you state and spell your name           4    Township where we anticipate it's going to happen, and
5    for the record?                                                5    they -- as long as they're willing to help, they'll
6           A   Kevin Dent. K-E-V-I-N, D-E-N-T.                     6    help us.
7           Q   Where are you currently employed?                   7          Q     Okay. So it's more of a, you're asking them
8           A   I'm a detective for the Lycoming County             8    for assistance with manpower versus assistance with
9    District Attorney's Office, specifically the Narcotics         9    your investigation?
10   Enforcement Unit.                                              10         A     Correct.
11          Q   And the Lycoming County Narcotics Enforcement       11         Q     How often would you involve a local police
12   Unit is often referred to as the NEU?                          12   department in your investigations?
13          A   Correct.                                            13         A     More so Williamsport City than anywhere else.
14          Q   Is that right?                                      14   Most of our stuff happens in Williamsport City. Just
15          A   Yes.                                                15   so happened the day in October was in Old Lycoming
16          Q   And you can feel to refer to it as the NEU          16   Township. But typically most times we do a search
17   during this deposition.                                        17   warrant or something like that, we enlist the help
18          A   Okay.                                               18   with the local agency as well.
19          Q   How old are you today?                              19         Q     Okay. And I know you mentioned Joshua Bell
20          A   I'm 42.                                             20   was your immediate supervisor in October of 2020. Was
21          Q   And how were you employed in October of 2020?       21   he a full-time member of the NEU at that time?
22          A   I was a detective for the Lycoming County           22         A     Yes, specially assigned -- he's a
23   NEU.                                                           23   Williamsport City police officer specially assigned to
24          Q   So the same job you have now?                       24   the NEU.
25          A   The same job, yes.                                  25         Q     Okay. Now, at some point did you come into

                                                                6                                                                    8
1           Q   How long have you been a police officer as of       1    contact with a Matthew Sumpter through your duties as
2    today?                                                         2    a police officer?
3           A   I've been a police officer since September of       3          A     I did.
4    2009. Prior to that I was a military police officer,           4          Q     And would the first time you became aware of
5    active duty from 2004, and I just retired from the             5    Matthew Sumpter have been April 15th of 2020?
6    Reserves as of last month.                                     6          A     Yes.
7           Q   Okay. I believe you said this already, but          7          Q     And on April 15th you were involved in a
8    your rank with the NEU is detective?                           8    controlled buy where Matthew Sumpter sold eight
9           A   Correct, yes.                                       9    suspected Gabapentin pills, three suspected Suboxone
10          Q   And when did you obtain the rank of detective       10   pills to a confidential informant?
11   with the NEU?                                                  11         A     Yes.
12          A   The minute I was employed there.                    12         Q     Did you have any personal, you know,
13          Q   So 2009 you would have been a detective?            13   face-to-face contact with Mr. Sumpter during that
14          A   No, no, no. 2017.                                   14   April 15th, 2020 controlled buy?
15          Q   2017.                                               15         A     I did not.
16          A   October of 2017 I started with the NEU.             16         Q     And then would you agree with me that the
17          Q   Okay. Yeah. Who was your immediate                  17   confidential informant you used on April 15th, 2020,
18   supervisor in the NEU in October of 2020?                      18   dropped Matthew Sumpter off at his house at 416
19          A   Josh Bell.                                          19   Brentwood Drive in Cogan Station?
20          Q   And did you have any subordinates under you         20         A     Yes.
21   in October, 2020?                                              21         Q     Between April 15th of 2020 when that
22          A   I did not.                                          22   controlled buy happened, and September 24th, 2020 when
23          Q   Can you describe for me how you would involve       23   you searched Mr. Sumpter's house, did you have any
24   a local police department, such as Old Lycoming                24   contact with Matthew Sumpter?
25   Township, in an NEU investigation typically?                   25         A     I did not.


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1          Q     To the best of your knowledge, did anybody         1          Q     And the informant told you that Sumpter was
2    from the NEU have contact with Mr. Sumpter during that         2    in Philadelphia to purchase Fentanyl as recently as
3    time?                                                          3    September 23rd, 2020?
4          A     Not that I'm aware.                                4          A     Yes.
5          Q     Did you do anything to further your                5          Q     And this informant actually was able to take
6    investigation into Mr. Sumpter between April 15th,             6    pictures of the drugs Sumpter said he bought from
7    2020 and September 24th, 2020?                                 7    Philadelphia and send them to you?
8          A     No. That investigation was actually                8          A     Yes.
9    Detective Anderson's at the time, so I didn't -- I did         9          Q     And Sumpter also claimed to have just spent
10   surveillance on that and that was it.                          10   $1,600 on Fentanyl in Philadelphia the day before?
11         Q     Okay. And would you agree with me that on          11         A     Yes.
12   September 23rd of 2020 you interviewed an informant            12         Q     You then took this information you were given
13   who provided you with information regarding Matthew            13   by this informant and obtained a search warrant for
14   Sumpter?                                                       14   Sumpter's home at 416 Brentwood Drive, is that right?
15         A     Yes, the same -- same informant that               15         A     Yes.
16   purchased from Matthew Sumpter on April -- I'm sorry,          16         Q     So you would have got this information from
17   15th, I think it was.                                          17   the informant on September 23rd of 2020?
18         Q     Okay. And, you know, you don't have to give        18         A     Yes.
19   me the names of the people he was giving you                   19         Q     Okay. And then you got the search warrant on
20   information on, but was that informant giving you              20   September 24th of 2020?
21   information on other people beside Matthew Sumpter             21         A     Yes.
22   between April 15th and September 24th?                         22         Q     And prior to getting the search warrant,
23         A     Yes, that CI was probably our most reliable        23   would you have ran Sumpter's criminal record?
24   CI we've had --                                                24         A     It would have been ran from the investigation
25         Q     Okay.                                              25   in April.

                                                               10                                                                    12
1          A     -- with the NEU.                                   1          Q     Okay. So you would have been aware of it
2          Q     So you trusted that CI. He did -- strike           2    from April on, Sumpter's criminal record?
3    that. That CI did, you know, multiple buys for you             3          A     Anything -- April and prior to that. I
4    that you turned out to be accurate and reliable?               4    hadn't ran it since then.
5          A     Hundreds.                                          5          Q     Okay. And to the best of your knowledge,
6                (Whereupon, a document was produced and            6    there was no reason to run it because, to the best of
7    marked as Plaintiff's Exhibit No. 1 for                        7    your knowledge, Mr. Sumpter wasn't arrested since
8    identification.)                                               8    April?
9    BY MR. GRYSKEWICZ:                                             9          A     That's correct.
10         Q     I'm going to show you a copy of your report        10         Q     What police officers went with you when you
11   from September 24th of 2020. And take a look through           11   served the warrant at Mr. Sumpter's house on September
12   to and let me know when you're done.                           12   24th of 2020?
13         A     Okay.                                              13         A     It would have been members of the NEU. I
14         Q     Is that a true and accurate copy of the            14   don't recall -- I mean, it would have been Josh Bell,
15   report you wrote regarding your investigation to Mr.           15   myself, Tyson Havens. I believe Clint Gardner was
16   Sumpter in September of 2020?                                  16   there. Rob Anderson. To my best recollection, every
17         A     Yes.                                               17   member of the NEU was there, and I believe -- I don't
18         Q     Is everything you wrote in your report in          18   know the exact members of Old Lycoming, but they came
19   that document true and accurate, to the best of your           19   along as a uniform present.
20   recollection?                                                  20         Q     Did the members of Old Lycoming ever go into
21         A     Yes.                                               21   Mr. Sumpter's house?
22         Q     So this informant told you that Sumpter            22         A     Not that I recall.
23   claimed he made several trips to Philadelphia in the           23         Q     Okay.
24   past few weeks to purchase Fentanyl, right?                    24         A     I think they were just there as a marked
25         A     Correct.                                           25   patrol unit there.


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1           Q    Okay. So they stayed outside as backup,              1           A    Yes.
2    essentially --                                                   2           Q    And then you released Mr. Sumpter that day
3           A    Yes.                                                 3    without filing criminal charges against him
4           Q    -- in case you had a problem? Did you brief          4    immediately?
5    the other officers from the NEU on what you learned of           5           A    Correct, with the intention of him
6    Mr. Sumpter that was listed in your report?                      6    cooperating as a confidential informant.
7           A    Yes.                                                 7           Q    And the reason you released him without
8           Q    And then you served the warrant at                   8    filing charges was because you wanted to use him as an
9    approximately 1430 hours on September 24th?                      9    informant?
10          A    Yes.                                                 10          A    Correct.
11          Q    And then at approximately 1438 hours on              11          Q    And, you know, correct me if I'm wrong, but
12   September 24th, Mr. Sumpter was in custody and being             12   if you file criminal charges against him, he likely
13   interviewed by yourself?                                         13   would not have been useful to you as an informant?
14          A    Yes.                                                 14          A    Yeah, because his docket would be released
15          Q    During that interview, would you agree that          15   and then somebody could figure out that he was
16   Sumpter told you where he hid his Fentanyl and                   16   working.
17   marihuana inside of his home you were searching?                 17          Q    You can keep that in front of you if you
18          A    Yes.                                                 18   needed to. I just want to make sure it stays, you
19          Q    Did you ask Mr. Sumpter if he obtained that          19   know, with the court reporter.
20   Fentanyl from Philadelphia as the informant told you             20               On October 5th of 2020, then, you would have
21   the day before?                                                  21   filed criminal charges against Sumpter and arrested
22          A    I don't recall if I asked that question.             22   him?
23          Q    Sumpter also brought up Anthony Barasky's            23          A    Yes.
24   name as a source of his Fentanyl during that                     24          Q    And you took him to get arraigned at that
25   conversation. Is that right?                                     25   time with the magistrate judge?

                                                                 14                                                                    16
1           A    Yes.                                                 1           A    I took him to get arraigned following the --
2           Q    Do you remember specifically what Mr. Sumpter        2    if -- the thing we do would have done with your
3    said about Anthony Barasky during that conversation?             3    client, with Anthony Barasky.
4           A    Not specifically, no, I don't -- I don't             4           Q    So Barasky, his arrest happened on October
5    recall.                                                          5    2nd of 2020. Do you agree with that?
6           Q    So this report would be the best recollection        6           A    Oh, yes. I'm sorry. Yes.
7    you would have of what Mr. Sumpter said about Mr.                7           Q    Nope. That's okay.
8    Barasky?                                                         8           A    Yes.
9           A    Right. I don't -- it wouldn't have -- I              9           Q    And October 5th, then, three days later is
10   don't believe that we recorded the interview, so I               10   when you filed the charges again Mr. Sumpter?
11   wrote the report off of memory of what I said to him.            11          A    Yes.
12          Q    Okay. Did you search Mr. Sumpter's phone at          12          Q    Did you take Mr. Sumpter to the magistrate
13   that point for any proof of his conversations with               13   yourself to have him arraigned?
14   Barasky?                                                         14          A    We did it via -- via video at the
15          A    Not at that point.                                   15   Williamsport Bureau of Police.
16          Q    Did you ask Mr. Sumpter when the last time he        16          Q    Okay. And according to your report, I
17   purchased Fentanyl from Mr. Barasky was at that point?           17   believe Mr. Sumpter was given $25,000 signature bail,
18          A    Not at that point.                                   18   is that right?
19          Q    On September 24th, did you relay to the other        19          A    Yes.
20   officers in the NEU what Mr. Sumpter would have told             20          Q    And by signature bail in your report, did you
21   you?                                                             21   mean that he was released on unsecured bail without
22          A    Yes.                                                 22   posting any money?
23          Q    And you discovered, you know, roughly in             23          A    Yes.
24   total about three grams of Fentanyl in Mr. Sumpter's             24          Q    And you charged Mr. Sumpter on October 5th
25   house that day?                                                  25   with three crimes. I believe possession with intent


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1    to distribute under Section 780-113(a)(30) of the Drug           1    recommended Magistrate Solomon set Barasky's bail in a
2    and Cosmetic Act, criminal use of a communication                2    secured amount for that charge?
3    facility under Section 7512(a) of the Crimes Code, and           3            A   Yes.
4    simple possession of a controlled substance under the            4            Q   After September 24th, 2020, when you served a
5    Drug and Cosmetic Act; is that right?                            5    search warrant on Mr. Sumpter's house, did you have
6          A     Correct.                                             6    any contact with Mr. Sumpter between that date and
7          Q     Okay. I'm going to show you this document            7    October 2nd, 2020?
8    that we'll be marking as Plaintiff's Exhibit 2.                  8            A   I believe just phone communication.
9                (Whereupon, a document was produced and              9            Q   And what would those communications have
10   marked as Plaintiff's Exhibit No. 2 for                          10   consisted of?
11   identification.)                                                 11           A   Just trying to get him to meet up so we can
12   BY MR. GRYSKEWICZ:                                               12   go over confidential informant paperwork, things like
13         Q     Just so the record's clear, I don't think I          13   that.
14   said it, but the report from September 24th, 2020, I             14           Q   Okay. So you would not have gone over that
15   would mark as Plaintiff's Exhibit 1.                             15   confidential informant paperwork on September 24th
16               Take a look at that, let me know when you're         16   with him?
17   done.                                                            17           A   No.
18         A     Okay.                                                18           Q   Okay.
19         Q     Would you agree that that's a true and               19           A   Our intention was to have him come to our
20   accurate copy of the criminal complaint you filed                20   office and meet up that way.
21   against Matthew Sumpter?                                         21           Q   Okay. Do you know if that happened on
22         A     Yes.                                                 22   October 2nd or sometime before then?
23         Q     During his preliminary arraignment, did you          23           A   The meet up?
24   provide a bail recommendation to MDJ Lepley to set Mr.           24           Q   Yes.
25   Sumpter's bail in an unsecured amount?                           25           A   It did not happen.

                                                                 18                                                                    20
1          A     Yes.                                                 1            Q   Okay. So to the best of your memory, Mr.
2          Q     And why did you make that recommendation to          2    Sumpter didn't meet with you at all except for a few
3    Magistrate Lepley?                                               3    phone conversations between September 24th and October
4          A     Because he had cooperated with us for the            4    2nd?
5    investigation into Anthony Barasky, and it was his               5            A   Correct. There was several phone
6    intention to go to rehab as well.                                6    conversations, the last being that he said he wanted
7          Q     Do you know if Mr. Sumpter ever did go to            7    to just go to rehab and take his charges. So I got
8    rehab after that day?                                            8    his arrest warrant to go to his house, and then he
9          A     He did.                                              9    indicated he wanted to cooperate.
10         Q     Then on October 2nd you charged Anthony              10           Q   Okay. At his house on -- was that on -- let
11   Barasky with criminal use of communication facility              11   me just strike that whole question. Did you take that
12   under Section 7512(a) of the Crimes Code, is that                12   arrest warrant to his house on October 2nd and that's
13   right?                                                           13   when he decided to cooperate?
14         A     Yes.                                                 14           A   Yes.
15         Q     That would be a felony of the third degree in        15           Q   So your intention, when you first came into
16   Pennsylvania?                                                    16   contact with Mr. Sumpter on October 2nd, was to arrest
17         A     I believe so, yes.                                   17   him because he was no longer cooperating?
18         Q     And would you agree that that's the same as          18           A   Correct. Give him some motivation to
19   one of the charges you filed against Mr. Sumpter?                19   cooperate, yes.
20         A     Yes.                                                 20           Q   Okay. And I'm sure that's always part of it.
21         Q     And you would agree you took Mr. Barasky to          21   You hope he changes his mind when you go there with
22   Magistrate William Solomon to be arraigned in that               22   the arrest warrant?
23   case?                                                            23           A   Yes.
24         A     Yes.                                                 24           Q   And -- but if he didn't change his mind, he
25         Q     And would you agree with me that you                 25   was going to be arraigned?


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1           A   Correct.                                             1    once I had Mr. Sumpter, he stayed with me, if I recall
2           Q   Where did you first meet Mr. Sumpter then on         2    correctly.
3    October 2nd?                                                    3         Q       So your normal process, when you're, you
4           A   At his house at 416 Brentwood Drive.                 4    know, setting somebody up to be arrested, do you meet
5           Q   Did he know you were coming to his house or          5    with the other NEU members to kind of brief them on
6    did you show up unannounced?                                    6    your plan and your investigation?
7           A   I just showed up.                                    7         A       When we do buy busts and when we do search
8           Q   Did you complete any of the confidential             8    warrants, yes, we have a brief prior to doing that.
9    informant paperwork with Mr. Sumpter then on October            9         Q       Okay. But I guess not in every
10   2nd?                                                            10   investigation, is that right?
11          A   No. Given what we were going to do with --           11        A       I'm not saying a brief didn't happen. I'm
12   with that day, we made him a confidential source and            12   saying I don't recall being present for it.
13   not a confidential informant, meaning he wouldn't have          13        Q       I understand. And sometimes circumstances of
14   been handling any drugs.                                        14   the investigation might necessitate no briefing
15          Q   And could you -- could you explain the               15   happening; is that correct, or am I wrong with that?
16   difference between a confidential informant and a               16        A       I'm not understanding.
17   confidential source for me?                                     17        Q       So for example, sometimes you might get a
18          A   Confidential informant, he filled out all the        18   rapid development in a case, for example, where you
19   paperwork. I mean, we already ran his background                19   just don't have time to do a briefing. Is that right
20   through. But a confidential informant would be able             20   or is that incorrect?
21   to make controlled buys. You would give them                    21        A       There could be times like that.
22   pre-recorded US currency. They could go, purchase               22        Q       Okay. So to the best of your knowledge, you
23   narcotics for you and bring it back to you. A                   23   don't remember being at the NEU office briefing, NEU
24   confidential source just gives you information leading          24   members, like Joshua Bell or Tyson Havens about your
25   to an investigation or to an arrest. We utilized him            25   investigation into Mr. Sumpter?

                                                                22                                                                    24
1    as a confidential source so he could make a phone call          1         A       You originally said Mr. Barasky. I'm sorry.
2    in my presence and not handle any drugs.                        2         Q       I'm sorry. I might have said it wrong --
3           Q   Is there a reason you chose to make him a            3         A       Yes.
4    confidential source versus a confidential informant?            4         Q       -- if that the case. Yep.
5           A   Yes. We knew Anthony Barasky to have a               5         A       Yes, I had briefed them about what was going
6    propensity to flee, so we decided to not even make the          6    on with Mr. Sumpter.
7    control buy happen. We wanted to stop him prior to              7         Q       Okay.
8    that -- prior to him even coming in contact with Mr.            8         A       I went out to Mr. Sumpter's residence and
9    Sumpter, so we felt there was no reason to make him a           9    took him into custody, if you will.
10   confidential informant.                                         10        Q       Um-hum.
11          Q   Would you agree that this is the first time          11        A       And then he chose to cooperate, at which
12   you used Mr. Sumpter as a source for police?                    12   point I contacted, I believe, Josh Bell.
13          A   Yes.                                                 13        Q       Okay.
14          Q   After you served that arrest warrant on Mr.          14        A       Who then we devised a plan over the phone,
15   Sumpter and it turned out you weren't going to arrest           15   because I was with Mr. Sumpter the rest of the
16   him that day, what did you do next?                             16   afternoon.
17          A   That's when we decided -- or that's when we          17        Q       I understand. So that meeting to brief them
18   made phone calls to set up the deal with Mr. Barasky.           18   on Mr. Sumpter, would that have happened on October
19          Q   And I know Captain Bell described for me a           19   2nd before you went to Mr. Sumpter's house?
20   meeting that happened at the NEU where you would have           20        A       Yes.
21   briefed the other NEU members on your investigation             21        Q       Okay. And at that meeting would you have
22   into Mr. Sumpter and developed a plan to arrest                 22   disclosed -- I guess strike that. At that meeting
23   Barasky. Do you recall that meeting?                            23   what would you have told Joshua Bell and the other NEU
24          A   I don't recall. I feel like I was with               24   members about your investigation into Mr. Sumpter?
25   Sumpter the entire time. I don't think I -- I think             25        A       Basically I had charges for him. I was going


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1    to go let him know that he can cooperate with us or I            1    a deal with Anthony Barasky?
2    was going to arraign him. And I would have gone                  2         A       Yes.
3    probably with at least one other person. I can't                 3         Q       And what happened on that phone call with
4    recall who would have gone with me at that point.                4    Joshua Bell, to the best of your knowledge?
5            Q   Okay. And would you have told those officers         5         A       They -- I believe he got ahold of at least
6    as well that you hoped he was still going to                     6    Old Lycoming Township and everybody with the Narcotics
7    cooperate --                                                     7    Enforcement Unit, and they met at the Old Lycoming
8            A   Yes.                                                 8    Township Police Department to do a brief -- a
9            Q   -- and set up something with Barasky?                9    collective brief as to how everything was going to
10           A   Yes.                                                 10   happen. I stayed with the confidential source, Mr.
11           Q   And I know just from a prior testimony I had         11   Sumpter.
12   of Tyson Havens, he seemed to have some specialized              12        Q       So you never went personally to the Old
13   knowledge of Anthony Barasky. Would you agree with               13   Lycoming Township Police Department then?
14   that?                                                            14        A       I was there. I was in the parking lot in my
15           A   Yes.                                                 15   vehicle the entire time.
16           Q   Did Tyson Havens share that knowledge with           16        Q       Okay. And was Mr. Sumpter with you then?
17   you then prior to you going to Mr. Sumpter's house on            17        A       The entire time, yes.
18   October 2nd?                                                     18        Q       Were you on the phone with anybody in that
19           A   Yes.                                                 19   briefing?
20               MR. WHITE: Objection to form. You can                20        A       I would have -- I would have called Joshua
21   answer.                                                          21   Bell or -- forgive me. Somebody might have come out
22   BY MR. GRYSKEWICZ:                                               22   and stayed with Mr. Sumpter while I went in and just
23           Q   What did Tyson Havens specifically tell you          23   said here -- relayed information, but --
24   about Mr. Barasky?                                               24        Q       Okay.
25           A   That while he was a trooper with the                 25        A       -- I wasn't actually inside when the brief

                                                                 26                                                                     28
1    Pennsylvania State Police, he had at least one                   1    was happening.
2    incident where Mr. Barasky fleed for them, resulting             2         Q       Okay. Who would you have went inside and
3    in a crash into Kmart, and then him fleeing on foot.             3    relayed information to?
4    Multiple forms of narcotics were located, I believe,             4         A       Josh Bell.
5    in his vehicle --                                                5         Q       Josh Bell. And then so you would have used
6            Q   Okay.                                                6    Josh Bell as an intermediary, essentially, to relay
7            A   -- during that.                                      7    your knowledge to the team at the briefing in Old
8            Q   Would he have told you what year that                8    Lycoming Township?
9    happened in?                                                     9         A       Yes.
10           A   He would have. I don't recall what year.             10        Q       And to the best of your memory, what were you
11           Q   Okay. If I said 2016, would that --                  11   telling Joshua Bell to tell to the other members of
12           A   That sounds correct. Yeah.                           12   that team?
13           Q   At that meeting at the NEU prior to you going        13        A       It would have been just that, you know, Mr.
14   to Mr. Sumpter's house, would you have developed the             14   Sumpter was going to set up this control purchase that
15   plan to use Mr. Sumpter as just a confidential source            15   wasn't going to happen and we were going to -- my
16   versus an informant?                                             16   intention was to have him stopped. He would have
17           A   If Mr. Sumpter was going to work and, indeed,        17   relayed that to the team in there, and then had -- he
18   was going to be with Mr. Barasky, yes, that would have           18   would have set up where people were going to be
19   been the reason.                                                 19   stationed and how the traffic stop and things were
20           Q   So the plan to not do a controlled buy was           20   going to happen.
21   developed prior to you going to Mr. Sumpter's house?             21        Q       Okay. At that point when your -- when that
22           A   I believe so, yes.                                   22   meeting's happening at the Old Lycoming Township
23           Q   Okay. Then you said after you went and met           23   police station, did you have Mr. Sumpter reach out to
24   with Mr. Sumpter, he changes his mind, you then called           24   Anthony Barasky at all at that point?
25   Joshua Bell to tell him that you were going to set up            25        A       Yes.


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1          Q     Okay. So -- I know the one text message --           1    investigation on October 2nd, 2020. Is that right?
2    I'll show it to you in a minute -- is the I got your             2          A     Yes.
3    bread plus money three. Was that already sent when               3          Q     I will give you a copy of that report.
4    you were sitting at the Old Lycoming Township police             4    Please review through that, let me know when you're
5    station or did that happen afterwards?                           5    ready.
6          A     I believe we did that prior to meeting -- to         6                (Whereupon, a document was produced and
7    heading to Old Lycoming Township.                                7    marked as Plaintiff's Exhibit No. 3 for
8          Q     Did any phone calls between Mr. Sumpter and          8    identification.)
9    Mr. Barasky happen before going to Old Lycoming                  9                THE WITNESS: Okay.
10   Township?                                                        10   BY MR. GRYSKEWICZ:
11         A     I don't recall.                                      11         Q     Would you agree with me that this is a true
12         Q     Okay. For that briefing at the Old Lycoming          12   and accurate copy of at least one page in the
13   Township police station, would you have disclosed to             13   narrative from your report into Mr. Barasky?
14   the other officers in that briefing the contents of              14         A     Yes.
15   Mr. Sumpter's criminal record?                                   15         Q     And there would have been other pages, like
16         A     To -- I'm sorry. Could you repeat that?              16   Mr. Barasky's criminal record, included in your full
17         Q     Sure. So to the other members at the                 17   report?
18   briefing at the Old Lycoming Township police station,            18         A     Yes.
19   would you have told them about Mr. Sumpter's criminal            19         Q     For the record, I would identify this as
20   record?                                                          20   Plaintiff's Exhibit 3.
21         A     Mr. Sumpter lived within the jurisdiction of         21               In your report about your interactions with
22   Old Lycoming, so they were aware of his criminal                 22   Sumpter and Barasky's arrest from October 2nd of 2020,
23   record.                                                          23   you indicated that Sumpter reached out to Barasky via
24         Q     Okay. And -- so you would have disclosed             24   telephone at approximately 1529 hours?
25   Matthew Sumpter's name to the people at the Old                  25         A     Yes.

                                                                 30                                                                   32
1    Lycoming Township police station?                                1          Q     And during this phone call, you would agree
2          A     Yes.                                                 2    that you wrote, Barasky only instructed Sumpter that
3          Q     Did you disclose to those other officers that        3    he was on his way?
4    this was the first time Mr. Sumpter was working with             4          A     Yes.
5    you as a confidential source?                                    5          Q     And you never documented in your report that
6          A     I don't recall.                                      6    Barasky said he had drugs on his person and he was on
7          Q     Do you recall if anybody at that briefing            7    his way?
8    asked you if this was the first time Mr. Sumpter                 8          A     No.
9    worked for you?                                                  9          Q     Also in your report you note that Barasky
10               MR. WHITE: Objection to form. You can                10   contacted Sumpter via phone at 1546 hours?
11   answer.                                                          11         A     Yes.
12               THE WITNESS: I don't recall.                         12         Q     Is that right? And you wrote that Barasky
13   BY MR. GRYSKEWICZ:                                               13   instructed Sumpter to head out during this phone call.
14         Q     Then you were the one who instructed Mr.             14   Is that right?
15   Sumpter to reach out to Barasky on October 2nd, 2020?            15         A     Yes.
16         A     Yes.                                                 16         Q     And you would agree that Barasky only said
17         Q     Prior to reaching out to Mr. Barasky, did you        17   during this phone call that Sumpter should head out?
18   search through Mr. Sumpter's phone?                              18         A     Yes.
19         A     I don't know if I did prior to. I don't              19         Q     You would agree that during that 1546 hours
20   recall.                                                          20   phone call, Barasky never said he had drugs on his
21         Q     Were you present the entire time with Mr.            21   person during that phone call?
22   Sumpter while he was reaching out to Anthony Barasky             22         A     He did not.
23   on October 2nd, 2020?                                            23         Q     You would agree with me that Barasky never
24         A     Yes.                                                 24   said he was going to deliver drugs to Sumpter during
25         Q     And you wrote a report regarding your                25   either of the two phone calls?


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1                MR. WHITE: Objection to form.                        1    2nd, you would have seen them as they happened?
2    BY MR. GRYSKEWICZ:                                               2          A     Yes.
3          Q     Let me withdraw the question and re-ask it.          3          Q     The text messages from before October 2nd,
4    You would agree with me that the phone call at 1529              4    would you have looked through them prior to Mr.
5    hours, Barasky never said he was going to deliver                5    Barasky showing up on October 2nd?
6    drugs to Mr. Sumpter?                                            6          A     Are you saying the date before or time on --
7                MR. WHITE: Objection to form. You can                7          Q     Let me rephrase the question.
8    answer.                                                          8          A     Yeah, please.
9                THE WITNESS: He did not say that he was              9          Q     Yeah. So the text message is from September
10   going to deliver drugs. However, through years and               10   30th, 2020 between Mr. Sumpter and Mr. Barasky. Did
11   hundreds of control buys, nobody ever comes out and              11   you look at those before October 2nd, 2020?
12   just says I'm bringing drugs to you to deliver.                  12         A     No.
13   BY MR. GRYSKEWICZ:                                               13         Q     Did you look at those prior to Anthony
14         Q     And the same question for the 1546 phone             14   Barasky being arrested on October 2nd, 2020?
15   call, you would agree that Mr. Barasky never said he             15         A     I would have looked at them while we were
16   was going to deliver drugs during that phone call?               16   waiting for Mr. Barasky to show up or -- or, you
17               MR. WHITE: Same objection. Yeah, you can             17   know --
18   answer.                                                          18         Q     So while you were waiting for Mr. Barasky to
19               THE WITNESS: I'm sorry. Correct. And                 19   show up, you would have scrolled through Mr. Sumpter's
20   again, hundreds of control buys, nobody ever says I'm            20   text messages with him?
21   specifically bringing drugs to you.                              21         A     Yes.
22   BY MR. GRYSKEWICZ:                                               22         Q     I'm going to show you what I will identify as
23         Q     Aside from what's documented in your report          23   Plaintiff's Exhibit 4.
24   here, do you remember Anthony Barasky stating anything           24               (Whereupon, a document was produced and
25   in addition to what's documented here during those               25   marked as Plaintiff's Exhibit No. 4 for

                                                                 34                                                                    36
1    phone calls?                                                     1    identification.)
2          A     Not that I recall.                                   2    BY MR. GRYSKEWICZ:
3          Q     And you would agree with me that during those        3          Q     Is this a true and accurate copy of some of
4    two phone calls, the only reason you thought Anthony             4    the text messages you retrieved from Mr. Sumpter's
5    Barasky was on the other end of the phone was because            5    phone?
6    Mr. Sumpter told you he was?                                     6          A     Yes.
7                MR. WHITE: Same objection. You can answer.           7          Q     And there were more text messages beyond
8                THE WITNESS: At that point, yes.                     8    this, to be clear, right?
9    BY MR. GRYSKEWICZ:                                               9          A     Yes.
10         Q     You never heard Anthony Barasky's voice prior        10         Q     This message -- some of these messages are
11   to October 2nd, 2020?                                            11   from September 24th of 2020, right?
12         A     I had never, no.                                     12         A     Yes.
13         Q     Did you ever personally interact with Anthony        13         Q     And at the top left-hand corner it says Plug?
14   Barasky before October 2nd, 2020?                                14         A     Yes.
15         A     No, I did not.                                       15         Q     And would you agree, Sumpter told you that
16         Q     Now, I know at least in discovery in this            16   Plug was his code word for Barasky?
17   case and from the District Attorney's Office in Mr.              17         A     Yes.
18   Barasky's criminal case, I was given numerous text               18         Q     And would you agree that Sumpter is the
19   messages from Mr. Sumpter's phone. When did you                  19   greenish blue messages in this?
20   review the text messages on Mr. Sumpter's phone?                 20         A     Yes.
21         A     During the time frame while we were in               21         Q     And would you agree that the white message is
22   communication with Mr. Barasky, and then immediately             22   who Sumpter alleged was Barasky?
23   after is when I took the pictures of -- of the -- or             23         A     Yes.
24   he screen shoted them in my presence.                            24         Q     In this would you agree with me that Sumpter
25         Q     So definitely the text messages from October         25   has a slice of bread with a face on it next to his


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1    text messages?                                                     1         A     No.
2         A        I would say that's a Lego character, but I'm         2         Q     And you would also agree with me that you
3    not sure.                                                          3    knew the Fentanyl that was seized from Mr. Sumpter's
4         Q        Okay. Would you agree with me that the term          4    house on September 24th was there on September 23rd,
5    bread man in drug parlance is a term for a drug                    5    based on the pictures your informant sent you?
6    dealer?                                                            6         A     Yes.
7         A        I've never heard that, to be honest with you.        7         Q     Because the Fentanyl you seized on September
8         Q        Okay. The September 24th messages, Sumpter           8    24th from Mr. Sumpter's house was the same Fentanyl in
9    says at 10:47 a.m., okay, I got you plus some?                     9    the pictures your informant sent you?
10        A        Yes.                                                 10        A     That I'm not sure.
11        Q        Is that right? That would mean that Mr.              11        Q     Would you agree that it was at least packaged
12   Sumpter has something to give Barasky plus more?                   12   the same way that the pictures your informant sent you
13        A        Yes.                                                 13   demonstrated?
14        Q        And we know from your investigation into Mr.         14        A     Yes.
15   Sumpter previously, that your confidential informant               15        Q     So when Mr. Sumpter says he purchases
16   relayed on September 23rd of 2020 that Sumpter                     16   Fentanyl from Barasky on September 24th of 2020, did
17   obtained Fentanyl from a supplier in Philadelphia. Is              17   you confront him with the fact that you knew he
18   that right?                                                        18   purchased drugs in Philadelphia, not Williamsport?
19        A        According to the confidential informant, yes.        19        A     I don't recall.
20        Q        So this message between Mr. Barasky and Mr.          20        Q     So then I'll direct your attention to the
21   Sumpter on September 24th, 2020, could have been                   21   bottom of that exhibit to the September 30th text.
22   Sumpter selling Fentanyl that he purchased in                      22   You would agree in that text Sumpter texts Barasky,
23   Philadelphia to Mr. Barasky?                                       23   "Listen bro, that's fine if you don't want to fuck
24        A        Possibility.                                         24   with me anymore but I at least want to take care of
25        Q        And you arrested Sumpter then on September           25   the balance". Would you agree with that?

                                                                   38                                                                   40
1    24th during the service of the search warrant?                     1         A     Yep.
2         A        Yes.                                                 2         Q     Did you direct Mr. Sumpter to send that
3         Q        So the September 24th, 2020 text conversation        3    message?
4    between Sumpter and who he believed was Barasky,                   4         A     No.
5    occurred on that same day?                                         5         Q     And did you direct Mr. Sumpter to send any
6         A        Yes.                                                 6    messages to Anthony Barasky between September 24th and
7         Q        And would you agree that during that                 7    prior to your arrival with the arrest warrant for Mr.
8    September 24th conversation with Mr. Sumpter, he                   8    Sumpter on October 2nd?
9    didn't tell you that he just purchased drugs from Mr.              9         A     No. During that time frame he was still
10   Barasky that day at his house?                                     10   actively using. So if he was buying from Mr. Barasky,
11        A        I believe -- if I can look at my report              11   he probably wanted to take care of his balance before
12   again.                                                             12   he left to go to rehab, like he wanted to do.
13        Q        Please.                                              13        Q     Would you have told Mr. Sumpter on September
14        A        I have 1438, Sumpter indicated that he gets          14   24th, not to contact Barasky without you being
15   Fentanyl from a black male in Williamsport named                   15   present?
16   Anthony Barasky. So he would have indicated, when I                16        A     At the time he wasn't officially a
17   interviewed him on September 24th, that he gets                    17   confidential informant, so, no, I wouldn't have.
18   Fentanyl from Mr. Barasky.                                         18   Again, we wanted to bring him to sign him up, and at
19        Q        But he didn't tell you when he got the               19   that point we would've told him not to make
20   Fentanyl from Mr. Barasky. Would you agree with that?              20   communication without us being present.
21        A        He wouldn't -- he didn't say the most recent         21        Q     And that would have happened -- I guess that
22   time, no.                                                          22   never happened because he never came in to interview
23        Q        Okay.                                                23   with you guys.
24        A        If that's what you're indicating.                    24        A     Correct.
25        Q        Yes, yes. That's what I was asking.                  25        Q     Would you agree that the September 30th


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1    message would indicate that Sumpter owed Barasky                1          Q     Were you able to read it?
2    something?                                                      2          A     I can -- I can't read the glare portion.
3           A    Yes.                                                3          Q     Okay.
4           Q    And you would agree that you don't know what        4          A     I think --
5    the balance Sumpter referred to in this text messages           5          Q     And I would agree with you, I can't read
6    was?                                                            6    that, either.
7                MR. WHITE: Objection. Form. You can                 7          A     It think the top one says O-M-W, which means
8    answer.                                                         8    on my way. I can't read that one. And then the next
9                THE WITNESS: I don't. I mean, a lot of              9    ones says hit -- HMU, hit me up. I got you plus some.
10   times they front -- dealers front their users or maybe          10         Q     Okay.
11   somebody that's middle manning for him, so he --                11         A     Give me a half hour. That's cool, bro, I got
12   Sumpter could have been fronted drugs from Barasky and          12   you. On my way. Okay. Head out pro. K. And then,
13   then he owed him what -- you know, the balance of what          13   yeah, bro for the Thursday, September 24th.
14   he was fronted, so he could make good before he went            14         Q     Okay. And you would agree with me that
15   to rehab.                                                       15   there's likely a date towards the top, but that's
16   BY MR. GRYSKEWICZ:                                              16   covered by the glare and you can't tell what it is?
17          Q    So the balance could have been drugs, from          17         A     Yes.
18   your knowledge?                                                 18         Q     Is this a true and accurate depiction of
19               MR. WHITE: Objection to form. You can               19   the -- one of the pictures you took of the text
20   answer.                                                         20   messages from Mr. Sumpter's phone?
21               THE WITNESS: I'm -- are you asking if he            21         A     Yes.
22   would owe Barasky drugs or if he owned him money for            22         Q     And would this have been one of the messages
23   drugs.                                                          23   you reviewed, waiting with Mr. Sumpter for Mr. Barasky
24   BY MR. GRYSKEWICZ:                                              24   to show up on October 2nd?
25          Q    So let me -- let me ask it this way. So             25         A     Yes.

                                                                42                                                                   44
1    sitting here today, you're not sure what the balance            1          Q     Now, would you agree with me that we know
2    specifically was that Mr. Sumpter referred to in this           2    those text messages that you just read, minus the yo,
3    message?                                                        3    bro at the bottom, would have been before September
4                MR. WHITE: Objection. Form. Can you just            4    24th, based on the time stamp at the bottom of the
5    clarify, because I think he's not sure if you're                5    messages?
6    asking about balance, meaning the amount, or balance            6          A     Yes.
7    meaning the character, and I think you might want to            7          Q     And, you know, the -- you did already state
8    clarify that.                                                   8    this, but the first message sent at 11:02 a.m. or so
9    BY MR. GRYSKEWICZ:                                              9    says, hit me up, I got you plus some?
10          Q    Okay. So this text on September 30th --             10         A     I believe that's 11:42, but yes.
11          A    Um-hum.                                             11         Q     Okay. Maybe unsure of the time?
12          Q    -- do you know what the words, the balance          12         A     Yes.
13   means in this text message?                                     13         Q     And H-M-U means hit me up?
14          A    No.                                                 14         A     Yes.
15          Q    Okay.                                               15         Q     And you would agree that, I got you plus
16               (Whereupon, a document was produced and             16   some, is often used in drug parlance to mean that I
17   marked as Plaintiff's Exhibit No. 5 for                         17   have your drugs, plus some extra drugs?
18   identification.)                                                18         A     Or it could mean I have your money plus what
19               MR. GRYSKEWICZ: That's a little bit harder          19   I owe you from drugs before.
20   to read. I apologize. This will be marked --                    20         Q     Okay. So it would be one of those two
21   identified as Plaintiff's Exhibit 5.                            21   things?
22               MR. WHITE: Off the record for one second.           22         A     Yes.
23               (Whereupon, a discussion was held off the           23         Q     So you would agree with me that this message
24   record.)                                                        24   could have been Mr. Sumpter selling drugs to who he
25   BY MR. GRYSKEWICZ:                                              25   alleged was Barasky?


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1          A     Or he could have been buying drugs -- saying         1          Q       Okay. So again, one if those two situations?
2    he has money to buy, plus what he owes from previous             2          A       Yes.
3    encounters with Barasky.                                         3          Q       And those two situations, just so the
4          Q     Okay. So it would have been one of those two         4    record's clear, either you would believe from these
5    situations?                                                      5    messages, Mr. Sumpter is selling drugs to Mr. Barasky
6          A     Yes.                                                 6    or Mr. Barasky is selling drugs to Mr. Sumpter?
7          Q     I'm going to show YOU the next message. This         7          A       It believe Mr. Barasky is selling drugs to
8    one, unfortunately, has the same problem as that one.            8    Mr. Sumpter.
9                (Whereupon, a document was produced and              9          Q       And that would be based on what Mr. Sumpter
10   marked as Plaintiff's Exhibit No. 6 for                          10   told you?
11   identification.)                                                 11         A       Yes.
12               THE WITNESS: I can't read the top two.               12         Q       Just --
13   BY MR. GRYSKEWICZ:                                               13                 MR. WHITE: Hold on a second. I pulled up
14         Q     Okay.                                                14   this picture on my computer, and if there's any
15         A     But I see yo, bro. I got -- hit me up, I got         15   question about what it says --
16   you. I can't read what Plug says. Something bro. K.              16                 MR. GRYSKEWICZ: Oh, that's clearer.
17   Yo, bro. Sup, bro. I think that says head out. K.                17                 MR. WHITE: -- he might be able to see it a
18         Q     And would you agree, this is a true and              18   little bit better.
19   accurate depiction of one of the pictures you took               19                 MR. GRYSKEWICZ:         I agree with that.
20   from Mr. Sumpter's phone --                                      20                 MR. WHITE: So there are any things that you
21         A     Yes.                                                 21   didn't know what it said, I mean --
22         Q     -- on October 2nd? And in this message at            22                 MR. GRYSKEWICZ: Yeah, please take a look at
23   the top, would you agree with me that the date says              23   it.
24   there, September 14th of 2020? It would be right                 24                 MR. WHITE: It's the same -- it's just the
25   above the yo, bro text is where I'm looking.                     25   same picture, just a little bit clearer.

                                                                 46                                                                      48
1          A     It's a Monday, so I --                               1                  MS. LAUGHLIN: And this is for Exhibit 5?
2          Q     Okay.                                                2                  MR. GRYSKEWICZ: This will be Exhibit 6.
3          A     I'm --                                               3                  MS. LAUGHLIN: Okay.
4          Q     But you can't read the exact date?                   4                  MR. WHITE: Yep.
5          A     No.                                                  5                  THE WITNESS: I think that says good look --
6          Q     That's okay.                                         6    good looking.
7          A     But maybe September 14th, but --                     7                  MR. WHITE: You're talking about the second?
8          Q     If you can't read it, you can say that.              8                  THE WITNESS: The one above yo, bro I still
9    Yeah, that's fine --                                             9    can't read.
10         A     Yeah, I'm not sure.                                  10   BY MR. GRYSKEWICZ:
11         Q     Okay. And then in these texts, it's a                11         Q       And the glare kind of obstructs you somewhat.
12   similar conversation to the Plaintiff's Exhibit 5 you            12         A       It's all good, bro. I can't read what the --
13   just reviewed. Sumpter texts, yo, bro, then hit me               13   what Plug says. Something good looking. Yo, bro, hit
14   up. I got you. Is that right?                                    14   me up. I got you. Head out, bro. Okay. Oh, bro.
15         A     Yep.                                                 15   Sup bro. Head out, bro. K. And, yes, Monday,
16         Q     And then the person who Sumpter's alleging is        16   September 14th, Wednesday, September 16th.
17   Barasky says, head out, bro, maybe?                              17         Q       I can tell you I drafted my questions looking
18         A     Yeah.                                                18   at that picture on my computer. That is clearer. So
19         Q     And you would agree again, hit me -- H-M-U in        19   you would agree the picture on the computer Attorney
20   these messages means hit me up?                                  20   White just showed you is clearer?
21         A     Yep.                                                 21         A       Yes.
22         Q     And then would you agree with that in drug           22         Q       Okay. Now, putting aside what Mr. Sumpter
23   parlance, I got you means I have drugs to sell you?              23   told you, would you agree with me that reading these
24         A     Could also mean I have money for you, or I           24   text messages standing alone, you wouldn't be sure who
25   have money for you to sell drugs to me.                          25   was selling drugs to who in these messages?


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1            A   Not off the text messages alone.                     1           A   I did not ask him.
2            Q   I want to show you what's going to be                2           Q   Did you ask him if he used drugs on October
3    identified as Plaintiff's Exhibit 7. This one is a               3    2nd?
4    much better picture.                                             4           A   I don't recall, but I believe -- I believe
5                (Whereupon, a document was produced and              5    that I did, and I believe he indicated he had.
6    marked as Plaintiff's Exhibit No. 7 for                          6           Q   Okay.
7    identification.)                                                 7           A   But I'm not 100 percent sure that I recall.
8                THE WITNESS: Okay.                                   8           Q   And this might be the same answer if you
9    BY MR. GRYSKEWICZ:                                               9    don't recall. Do you recall what time he said he used
10           Q   Would you agree with me that this is a true          10   drugs on October 2nd?
11   and accurate depiction of some of the messages you               11          A   I don't recall.
12   took from Mr. Sumpter's phone on October 2nd, 2020?              12          Q   And then at the bottom of it, it's the text
13           A   Yes.                                                 13   from October 2nd. Is that right?
14           Q   And referring you to the top of this                 14          A   Yes.
15   document, you could see it saying, "Listen, bro,                 15          Q   And those three messages would have been the
16   that's fine if you don't want to fuck with me anymore,           16   ones sent in your presence?
17   but I at least want to take care of the balance"?                17          A   Yes.
18           A   Yep.                                                 18          Q   So at 3:08 the yo, bro from Mr. Sumpter, that
19           Q   Would you agree with me that that's the text         19   would have been sent at your direction?
20   we referred to earlier in an exhibit?                            20          A   Yes.
21           A   Yes.                                                 21          Q   And then Plug respond at 3:11, sup, bro?
22           Q   And then at the bottom that would have been          22          A   Correct.
23   Plug's response to that text message from the previous           23          Q   And at 3:19 Mr. Sumpter would have said, got
24   exhibit?                                                         24   your bread, bro, plus money three?
25           A   Yes.                                                 25          A   Yes.

                                                                 50                                                                   52
1            Q   And that one says, "If you're up in the AM,          1           Q   And you directed Mr. Sumpter to send that
2    just give me a shout"?                                           2    text message?
3            A   Yes.                                                 3           A   Not those exact words, but a message that
4            Q   And then Mr. Sumpter responds okay to that?          4    would elicit a response from Mr. Barasky to sell
5            A   Yes.                                                 5    drugs, yes.
6            Q   And you would agree on October 1st, Plug             6           Q   That was going to be my next question. So
7    texts Mr. Sumpter, I can get with you between twelve             7    how -- how did this exact phrasing get created for the
8    and one today?                                                   8    text message?
9            A   Yes.                                                 9           A   It's just a -- some sort of phrase that drug
10           Q   And then Mr. Sumpter says, "Okay, that works,        10   dealers use. They all have their own little phrasing
11   I'll take my break then"?                                        11   but would have drug interactions -- would use to
12           A   Yep.                                                 12   elicit a response.
13           Q   So what did you suspect from that October 1st        13          Q   Okay. And would you agree with me that bread
14   text?                                                            14   means money in drug parlance?
15           A   That that's the time that Plug or Barasky can        15          A   Yes.
16   meet with Sumpter to deal the drugs to him.                      16          Q   And then plus money three would mean extra
17           Q   So based on what Mr. Sumpter's telling you,          17   money?
18   you believe a drug transaction may have occurred on              18          A   Yes.
19   October 1st, 2020 --                                             19          Q   So knowing that there was a balance from two
20           A   Yes.                                                 20   days earlier, would you agree with me that this text
21           Q   -- between Mr. Barasky and Mr. Sumpter?              21   message could have meant I just have your money I owe
22           A   Yes.                                                 22   you?
23           Q   When you see Mr. Sumpter on October 2nd and          23          A   Or it could mean I have the money I owe you
24   review this text message, do you ask him if he used              24   plus I want -- plus three, three grams. That could
25   drugs on October 1st?                                            25   say plus money for three, three grams.


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1            Q   Okay. Did Mr. Sumpter specifically tell you          1         Q     -- you know, to the best of your knowledge,
2    that plus money three meant he was asking for drugs?             2    looking at that, does that appear to be a true and
3            A   Yeah, he told me he was asking for three             3    accurate copy of Attachment H from the NEU's
4    grams of Fentanyl, yes.                                          4    regulation which would be for informant's and sources
5            Q   At this point on October 2nd, did you ask Mr.        5    of information?
6    Sumpter if he owed Barasky money from prior to that              6         A     Yes.
7    day?                                                             7         Q     And obviously you would have access to the
8            A   He indicated to me that he had owed him              8    unredacted version of this versus this is a redacted
9    money.                                                           9    version?
10           Q   Would you agree with me that three grams of          10        A     Yes.
11   Fentanyl is a large quantity of Fentanyl?                        11        Q     So if you would look under the definition
12           A   I would agree, yes.                                  12   section and subsection B, source of information. It's
13           Q   And you would agree that would have been             13   on the first page.
14   the -- almost the exact quantity you took from Mr.               14        A     Yes.
15   Sumpter's home on September 24th of 2020?                        15        Q     The bottom paragraph there.
16           A   Yes.                                                 16        A     Yep.
17           Q   And you would agree with me that Mr. Barasky         17        Q     Would you agree with me that it says a person
18   never texted back in this conversation after the text            18   cannot be a source of information if any criminal
19   from 3:19 p.m.?                                                  19   charges are pending against that individual?
20           A   I don't -- I don't recall if he would have or        20              MR. WHITE: Objection to form. You can
21   not. I would have taken pictures or screen shots,                21   answer.
22   so --                                                            22              THE WITNESS: Yes.
23           Q   Okay. So if he did respond, it would have            23   BY MR. GRYSKEWICZ:
24   been in the documents either your attorney turned over           24        Q     So you would agree with me that when you went
25   to me in this lawsuit or the District Attorney turned            25   to Mr. Sumpter's house on October 2nd, criminal

                                                                 54                                                                   56
1    over in the criminal case?                                       1    charges would have been pending against him?
2            A   Yes.                                                 2         A     Correct. But I believe this is reading
3            Q   You would agree with me in the text messages         3    source of information, where someone in the public is
4    that Mr. Barasky never confirmed he had drugs on his             4    just telling me, hey, crimes are committing over here,
5    person?                                                          5    where he was a confidential source, being with me the
6            A   Correct, he did not.                                 6    entire time.
7            Q   Did you know where Mr. Barasky was living at         7         Q     Okay. So you would say the source of
8    the time on October 2nd?                                         8    information here is different than the confidential
9            A   Not specifically. I just knew he lived in            9    source you described to us previously?
10   the City of Williamsport somewhere.                              10        A     Correct.
11           Q   Okay. You would agree with me that the NEU           11        Q     Would you agree with me that a confidential
12   has specific regulations for handling confidential               12   source is not mentioned in these regulations?
13   informants and sources?                                          13        A     I would agree, yes.
14           A   Yes.                                                 14        Q     Okay. So for confidential informants in
15           Q   Show you a copy of the list of regulation.           15   these regulations, you would agree you're supposed to
16   Yeah, this will be identified as Plaintiff's Exhibit             16   conduct a comprehensive interview of that confidential
17   8.                                                               17   informant?
18               (Whereupon, a document was produced and              18        A     Yes.
19   marked as Plaintiff's Exhibit No. 8 for                          19        Q     But Mr. Sumpter was not a confidential
20   identification.)                                                 20   informant so you never conducted that interview?
21               THE WITNESS: Without reading through the             21        A     Correct.
22   entire the thing, is there a specific --                         22        Q     Now, the NEU's regulations also require you
23   BY MR. GRYSKEWICZ:                                               23   to document what you learned from an informant in a
24           Q   No. I was going to ask you is --                     24   written report. Is that right?
25           A   Okay.                                                25        A     Yes.


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1          Q     Based on you categorizing Mr. Sumpter as a          1            Q      And you would have done that, or somebody in
2    confidential source instead of an informant, do you             2    the NEU would have done that in April of 2020?
3    believe that regulation for you to document everything          3            A      Yes.
4    in a report still applied?                                      4            Q      And then I believe from your earlier
5          A     It was documented in a report.                      5    testimony there is an informant condition statement
6          Q     Okay.                                               6    on --
7          A     It's in the head of one of my reports that          7            A      Correct.
8    you handed to me.                                               8            Q      -- it would have been marked Dent and Havens
9          Q     So that was your documentation in compliance        9    production 415, towards the end of that document?
10   with these regulations, those reports are written?              10           A      Yep.
11               MR. WHITE: Objection to form. You can               11           Q      You never had Mr. Sumpter review or sign this
12   answer.                                                         12   document?
13               THE WITNESS: Yeah, it was documented.               13           A      I did not.
14   BY MR. GRYSKEWICZ:                                              14           Q      Now, I know you said earlier you believe Mr.
15         Q     So in that report you would have wrote all          15   Sumpter was in active addiction in the time from
16   your knowledge as was known to you at the time?                 16   September 24th, 2020, through October 2nd, 2020?
17         A     I believe so. If I can review --                    17           A      Yes.
18         Q     Yeah, absolutely. If you think something's          18           Q      Does someone being in active addiction raise
19   missing, let us know.                                           19   any concerns for you as a police officer about their
20         A     Yeah, I met with confidential source who            20   reliability?
21   stated they bought suspected heroin/Fentanyl from               21           A      I would say every confidential informant we
22   Anthony Barasky approximately a hundred times in the            22   use are in some sort of active addiction, so no.
23   past. And then stated Barasky's phone number of                 23           Q      Okay. So I'm bringing back to October 2nd
24   215-301-0606.                                                   24   here. So the plan's created at the Old Lycoming
25         Q     Did you ask Sumpter when the hundred                25   Township police station stop and arrest Barasky.

                                                                58                                                                       60
1    purchases he alleged from Barasky occurred?                     1            A      Yes.
2          A     Just over his time of when he purchased from        2            Q      Would you agree with that? Where did you go
3    Barasky.                                                        3    after the briefing at the Old Lycoming Township police
4          Q     I'm not sure if I know what that means.             4    station was finished?
5    Could you describe that for me?                                 5            A      I stayed in the parking lot with the
6          A     If you're asking from January 1st of a              6    confidential -- with Mr. Sumpter the entire time --
7    certain year to October 2nd, 2020, no.                          7            Q      Okay.
8          Q     Okay.                                               8            A      -- in my vehicle.
9          A     He only indicated that he had purchased over        9            Q      So you didn't go back to Mr. Sumpter's house
10   a hundred times throughout his -- his purchasing from           10   or anything for it?
11   Barasky.                                                        11           A      Not until afterwards where I dropped him off
12         Q     Okay. Did he tell you when the first time he        12   there.
13   purchased Fentanyl from Barasky was?                            13           Q      Okay. How were you communicating with the
14         A     No.                                                 14   other officers on the team to arrest Mr. Barasky?
15         Q     So we -- strike that. Through your                  15           A      Through a police communication style radio.
16   investigation you weren't able to narrow down a                 16           Q      How was it decided at what location Mr.
17   timeline when these hundred purchases occurred?                 17   Barasky would have his vehicle stopped at?
18         A     No, and that's not typically a question we          18           A      We want it to be stopped in a spot where it
19   ask confidential informants or sources. We just ask             19   would be tough for him to flee. So we figured if he
20   how many times they've purchased.                               20   was on Lycoming Creek Road, it would give him an
21         Q     Okay. And you would agree that these                21   avenue to flee -- sorry for the directions, I'm not a
22   regulations for confidential informants and sources             22   hundred percent sure -- but I believe northbound. He
23   require you to run a criminal background check on the           23   was traveling northbound. So he would have been able
24   prospective informant?                                          24   to flee northbound. So by him turning right onto --
25         A     Yes.                                                25   and I would have to look at my report to -- for the


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1    roads, and stop him prior to him getting into the               1          Q     Well, was it at -- did Mr. Sumpter tell you
2    development would have been the best location.                  2    that Anthony Barasky would normally deliver drugs to
3          Q     Okay. I'll --                                       3    his home?
4          A     And again, I didn't -- I didn't come up with        4          A     About a hundred yards from the house,
5    that plan. I just -- that was done by -- I believe              5          Q     Could you indicate on the map the spot Mr.
6    Josh Bell came up with that plan where to do the stop.          6    Sumpter indicated Anthony Barasky would normally meet
7          Q     Okay. Did you have any input into the plan          7    him at to deliver drugs?
8    on where to do the stop?                                        8          A     Yeah. So the house -- that this is Brent --
9          A     Just that I wanted to see him stopped before        9    there's like a little bit of woods right around here.
10   he got into the development, because of his propensity          10   He'd walk down to that wooded area and meet him. Mr.
11   to flee. I didn't want anybody in the development to            11   Barasky would stop at that wooded area and he'd do the
12   get injured.                                                    12   deal there and then they would split ways.
13         Q     Okay. And that was, I guess, a mutual               13         Q     Okay. So that dot you put on the map there,
14   concern between every member of the NEU?                        14   that would be that general area?
15         A     Yes.                                                15         A     Roughly, yeah. I mean --
16         Q     I show you the map.                                 16         Q     It's not exact?
17         A     Then forgive me. At some point could we take        17         A     It's not to scale, so -- but a hundred yards
18   a restroom break then?                                          18   in that general location.
19         Q     Yeah, we can take a break now if you like.          19         Q     Could you indicate on the map where Barasky's
20         A     I can finish this.                                  20   vehicle was actually stopped by police?
21               MR. GRYSKEWICZ: No, no, go ahead. Let's             21         A     I wasn't at the traffic stop, but from what I
22   take a break now because I'm doing this a bit out of            22   gather, it was -- from what I've been told, it was
23   order, so I can rearrange my questions.                         23   like right here, right at the -- I think right at
24               (Whereupon, a recess was taken from 10:08           24   where Miller Road meets whatever road that is there.
25   a.m. until 10:14 a.m.)                                          25         Q     Do you know where the police officers were

                                                                62                                                                    64
1                                     AFTER RECESS                   1    stationed during Mr. Barasky's arrest?
2                (Whereupon, a document was produced and             2          A     I think -- I'm not 100 percent sure, but I
3    marked as Plaintiff's Exhibit No. 9 for                         3    believe one was further up here (indicating).
4    identification.)                                                4          Q     Um-hum.
5    BY MR. GRYSKEWICZ:                                              5          A     And then one maybe in Taylor Trucking or
6          Q     Detective Dent, I put a map in front of you         6    Roan's RV. I'm not -- again, I wasn't there for that
7    marked as Plaintiff's Exhibit 9. Does that appear to            7    so I don't know exactly.
8    be a general map of the area where Mr. Sumpter lived            8          Q     So all you remember is what you would have
9    and Mr. Barasky's vehicle was stopped on October                9    been told four years ago essential?
10   2nd --                                                          10         A     Yes. Yes.
11         A     Yes.                                                11         Q     Okay. Could you tell me, when was it decided
12         Q     -- 2020? Okay. Would you agree that the red         12   for Barasky to be stopped before he got to the meet
13   marker on that map is a general location for where 416          13   location?
14   Brentwood Drive was where the informant lived?                  14         A     That was in the preplanning stages. We
15         A     Yes.                                                15   were -- because of his propensity to flee, we decided
16               MR. WHITE: Objection to form.                       16   to stop him before he even got into the development.
17   BY MR. GRYSKEWICZ:                                              17         Q     So that would have been decided at the
18         Q     I'm going to pass you my pen, sir. Now, was         18   meeting at the NEU headquarters?
19   the normal meet location between Barasky and the                19         A     It would have been decided at the brief at
20   informant at that house or someplace else?                      20   Old Lycoming Township. But prior to getting to that
21               MR. WHITE: Objection to form. You can               21   brief, we wanted to have him stopped and then Josh
22   answer.                                                         22   Bell would have put that plan in motion with all the
23               THE WITNESS: Are you asking me to indicate          23   marked vehicles.
24   on the map where it would be or --                              24         Q     And you said you did that because you were
25   BY MR. GRYSKEWICZ:                                              25   concerned Barasky might flee when you stopped him?


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1             A     Yes.                                                1    normal meet location?
2             Q     And who decided that was the right plan, to         2            A   Yes.
3    stop Barasky before he got to the meet location?                   3                MR. WHITE: Objection to form. You can
4             A     It would have been a collective plan amongst        4    answer.
5    all of us. Again, Josh Bell was the supervisor so he               5    BY MR. GRYSKEWICZ:
6    would have signed off or okayed it. But I believe                  6            Q   Did you ever bring Mr. Sumpter to identify
7    we're all seasoned detectives within the narcotics                 7    that the Anthony Barasky that was arrested was the
8    unit and we came to a collective plan of how we would              8    person he believed to be Anthony Barasky?
9    do it.                                                             9            A   I'm sorry. Could you repeat that?
10            Q     Would the Old Lycoming Township police              10           Q   Yes. Did you ever bring Mr. Sumpter to look
11   officers have been involved in that, you know,                     11   at Anthony Barasky who was arrested on October 2nd and
12   collective plan?                                                   12   say, yeah, that's the guy I was buying drugs from?
13            A     I wasn't in that brief. They may have gave          13           A   No.
14   suggestions, but I'm not 100 percent sure on that.                 14           Q   Were you present when Mr. Barasky was
15            Q     Would it be unusual for you to ask the local        15   searched when he was arrested?
16   police department to lend their expertise of the area              16           A   I was not.
17   to you?                                                            17           Q   Do you know the results of that search,
18            A     No, not at all. That wouldn't --                    18   though, when Mr. Barasky was arrested?
19            Q     That would be something you would want, in          19           A   Nothing was located.
20   fact, right?                                                       20           Q   And then I believe Captain Bell described for
21            A     Correct. Yes.                                       21   us Mr. Barasky was strip searched at the Old Lycoming
22            Q     Did you ever go to the location of the              22   Township Police Department. Were you present for
23   traffic stop?                                                      23   that?
24            A     I drove past it to drop Mr. Sumpter back off        24           A   I was not.
25   at his house, but at this point I think the traffic                25           Q   Do you know the results of any strip search?

                                                                   66                                                                    68
1    stop was cleared up.                                               1            A   I believe nothing was found.
2             Q     Okay. So you never saw Mr. Barasky being            2            Q   Did you see Mr. Barasky at any point on
3    arrested?                                                          3    October 2nd, 2020?
4             A     I did not.                                          4            A   I did not. Well, arraignment, I would
5             Q     Okay. And you never saw him, you know, at           5    have -- no, I'm sorry, I wasn't even there for
6    the scene of the traffic stop?                                     6    arraignment. They arraigned -- somebody else
7             A     I did not.                                          7    arraigned me for him, so my apologies.
8             Q     And that would mean you never questioned            8            Q   Okay. And you ended up searching Anthony
9    about the scene of the traffic stop as well?                       9    Barasky's vehicle?
10            A     I did not.                                          10           A   I did.
11            Q     Would you agree with me, though, that               11           Q   Is that right? Would you have -- you filed a
12   Barasky's vehicle was stopped at your general                      12   search warrant for that?
13   direction?                                                         13           A   I did.
14                  MR. WHITE: Objection to form. You can               14           Q   And you carried out that search on October
15   answer.                                                            15   6th?
16                  THE WITNESS: I didn't direct him to be              16           A   I believe so. Yes.
17   stopped. I just explained the text communication that              17           Q   Well, would you agree they did -- you carried
18   was coming through and as to where -- when he got the              18   out that search in the, you know, three or four days
19   head on out text was the last thing I would have said.             19   after his arrest on October 2nd?
20   And shortly thereafter they saw him and they would                 20           A   Yes. It -- the arrest was on a Friday. It
21   have indicated -- they would have decided when to make             21   was either a Monday or Tuesday I did that.
22   the traffic stop.                                                  22           Q   Okay. And is there a reason you waited to
23   BY MR. GRYSKEWICZ:                                                 23   search Mr. Barasky's vehicle?
24            Q     Okay. You would agree you were in agreement         24           A   It was in impound. There was -- there was
25   with the plan to stop Mr. Barasky before he got to the             25   no, you know, reason to stress getting it done right


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1    away.                                                            1            A   Yes.
2            Q   Okay. And you would agree, you didn't have           2            Q   And would you agree that you drafted the
3    Mr. Barasky's consent to search his vehicle?                     3    criminal complaint on October 2nd, 2020, charging
4            A   Correct.                                             4    Anthony Barasky with criminal use of a communication
5            Q   Did you direct Joshua Bell to call ahead to          5    facility?
6    the Lycoming County Prison to ensure that Mr. Barasky            6            A   Yes.
7    was placed in a dry cell?                                        7            Q   I'm going to show you what will be Exhibit 10
8            A   I don't know if I directed him to. I think           8    now.
9    we all came to an agreeance and he -- he made the                9                (Whereupon, a document was produced and
10   phone call.                                                      10   marked as Plaintiff's Exhibit No. 10 for
11           Q   And when you say we all came to agreeance,           11   identification.)
12   who do you mean by all?                                          12   BY MR. GRYSKEWICZ:
13           A   Like we all discussed as to why there could          13           Q   Take a look at that and let me know when
14   possibly have been nothing found on him and it could             14   you're finished.
15   possibly be inside him, so we thought maybe it would             15           A   Okay.
16   be a good idea to have him placed in a dry cell.                 16           Q   Is this a true and accurate copy of the
17           Q   And who --                                           17   criminal complaint you filed against Mr. Barasky on
18           A   And I think Josh Bell just took it upon              18   October 2nd, 2020?
19   himself to make that phone call, if I recall.                    19           A   Yes.
20           Q   Let me rephrase. So by all, do you mean the          20           Q   And you filed this complaint with Magistrate
21   NEU members specifically?                                        21   William Solomon on October 2nd, 2020?
22           A   Yes.                                                 22           A   Yes.
23           Q   So that would have included Joshua Bell and          23           Q   And you would agree in this complaint, you
24   Tyson Havens?                                                    24   listed Anthony Barasky's address as 1534 Louisa Street
25           A   Yes.                                                 25   in Williamsport?

                                                                 70                                                                    72
1            Q   And would it have included Clinton Gardner as        1            A   Yes. That's probably what was on his triple
2    well?                                                            2    I.
3            A   I don't recall.                                      3            Q   What do you mean by triple I?
4            Q   Okay. Did it include the Old Lycoming                4            A   His rap sheet.
5    Township police officers at all?                                 5            Q   Okay. Did you ever get like a driver's
6            A   I don't believe so, no.                              6    license from Anthony Barasky that day?
7            Q   And you said you all came to the conclusion          7            A   Not that I recall.
8    that you wanted him placed in a dry cell because you             8            Q   Okay. You would agree that you wrote in the
9    thought the drugs might have been inside him?                    9    affidavit of probable cause that, "It should be noted
10           A   Yes.                                                 10   Barasky is a known narcotics dealer in the
11           Q   And would you agree with me that you                 11   Williamsport area"?
12   contacted the Lycoming County Prison to see if any               12           A   Yes.
13   contraband was recovered from Barasky's dry cell?                13           Q   What was that statement based on?
14           A   Yes.                                                 14           A   Based on Detective Havens having previous
15           Q   And you would agree that no contraband was           15   drug interactions with Barasky being a dealer in the
16   ever recovered?                                                  16   Williamsport area, to include the time that he fled
17           A   Correct.                                             17   from Mr. -- or Detective Havens.
18           Q   And you would agree you never found                  18           Q   Do you know if Detective Havens had any
19   contraband when you searched Mr. Barasky's vehicle?              19   contacts with Mr. Barasky that could be considered
20           A   I did not.                                           20   drug related between that fleeing case in 2016 and
21           Q   And I'm sure you did a thorough search of his        21   when he was arrested on October 2nd, 2020?
22   vehicle?                                                         22           A   Not that I -- not that I'm aware of. I'm not
23           A   I did.                                               23   sure.
24           Q   That would have included the panels of the           24           Q   Okay. Would you agree that any of those drug
25   vehicle inside?                                                  25   interactions with Detective Havens would have resulted


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1    in something ending up on Anthony's criminal record?             1          Q    And you would agree that you did not explain
2          A     I believe he had arrested him for the 2016.          2    the difference between a confidential source and a
3          Q     And you would agree that you didn't list in          3    confidential informant in this affidavit?
4    this affidavit that the last known drug interaction              4          A    I would agree.
5    with Mr. Barasky was from four years prior?                      5          Q    And you would agree you did not write in this
6          A     I didn't think that would be necessary for           6    affidavit that Mr. Sumpter was just arrested for
7    probable cause, no.                                              7    selling Fentanyl?
8          Q     You would agree that that statement makes it         8          A    I did not.
9    sound like you have current knowledge that Mr. Barasky           9          Q    And you would agree that you would have filed
10   was an active drug dealer in Williamsport?                       10   this document with Magistrate Solomon's court prior to
11               MR. WHITE: Objection to form. You can                11   Barasky being arraigned by the judge?
12   answer.                                                          12         A    Yes.
13               THE WITNESS: Yeah, we -- we had intel from           13         Q    So you would agree that Magistrate Solomon
14   sources throughout Williamsport that he was dealing.             14   would have based his bail decision, at least in part,
15   We just didn't have a way into him.                              15   on what you wrote in this affidavit?
16   BY MR. GRYSKEWICZ:                                               16              MR. WHITE: Objection to form. You can
17         Q     And you would agree in the affidavit you             17   answer.
18   wrote, "In my presence the CS contacted Barasky on               18              THE WITNESS: Could you repeat that for me
19   telephone number 215-301-0606"?                                  19   again?
20         A     Yes.                                                 20   BY MR. GRYSKEWICZ:
21         Q     "And asked Barasky for three, meaning three          21         Q    Sure. Would you agree with me that
22   grams of Fentanyl."                                              22   Magistrate Solomon would have based his decision on
23         A     Yes.                                                 23   what amount to set Mr. Barasky's bail at, at least in
24         Q     You would agree that that was not the full           24   the part, based on your affidavit of probable cause?
25   text messages that was sent by Mr. Sumpter to Mr.                25              MR. WHITE: Same objection.

                                                                 74                                                                   76
1    Barasky?                                                         1               THE WITNESS: Yes. And outside factors
2          A     No, there was more.                                  2    from -- that we would have told him during
3          Q     And the full text message would have been the        3    arraignment.
4    Plaintiff's Exhibit 7 that we previously discussed?              4    BY MR. GRYSKEWICZ:
5    If you need to look at the number, feel free to look             5          Q    And one of those outside factors would have
6    through.                                                         6    been your bail recommendation that it be secured bail?
7          A     Yes.                                                 7          A    Yes.
8          Q     You would agree that you did not write in            8          Q    Now, I know you said you weren't physically
9    this affidavit that Mr. Sumpter had a lengthy criminal           9    present at the arraignment for Mr. Barasky. Is that
10   record?                                                          10   right?
11         A     No.                                                  11         A    Correct.
12         Q     And you would agree that you did not write in        12         Q    Okay. Did you relay to the judge that you
13   this affidavit that Sumpter never provided information           13   wanted it to be secured bail outside of that
14   to police previously?                                            14   arraignment then?
15         A     I'm sorry. Say that one more time.                   15         A    I did not. I wasn't -- I wasn't there for
16         Q     Would you agree with me that you did not             16   it.
17   write in this affidavit that Mr. Sumpter never                   17         Q    So did you direct the officer who was present
18   provided information to police before October 2nd,               18   for it to relay to the judge you wanted secure bail?
19   2020?                                                            19         A    Yes.
20         A     I did not list that, no.                             20         Q    Is October 2nd, 2020, the last time you would
21         Q     And you agree you listed a confidential              21   have saw Anthony Barasky, except for court
22   source in this affidavit, is that right?                         22   appearances?
23         A     Correct.                                             23         A    The last time was -- again, I didn't see him
24         Q     And that would have referred to Mr. Sumpter?         24   on October 2nd, so --
25         A     Yes.                                                 25         Q    Okay. Yeah, I'm sorry. Did you see him when


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1    you drove by with Mr. Sumpter past the traffic stop or           1               MR. WHITE: Objection to form. You can
2    he was gone at that point?                                       2    answer.
3            A   It was cleared up at that point.                     3               THE WITNESS: That he was bringing three
4            Q   So you never saw Mr. Barasky at all on               4    grams of Fentanyl to Mr. Sumpter, to deliver it to
5    October 2nd?                                                     5    him.
6            A   I did not.                                           6    BY MR. GRYSKEWICZ:
7            Q   Have you -- aside from court appearances,            7           Q   After Barasky was arrested, did you ever ask
8    have you ever seen Mr. Barasky then?                             8    Matthew Sumpter why Barasky didn't have drugs on him?
9            A   No.                                                  9           A   I did. He said he always brought drugs to
10           Q   You would agree with me that you attended the        10   him, so the only thing we could think of is that it
11   preliminary hearing for Mr. Barasky on these charges             11   was tossed out the window before the traffic stop was
12   that occurred on October 14th, 2020?                             12   actually completely conducted. And when we walked the
13           A   Yes.                                                 13   flight path -- I didn't walk the flight path. When
14           Q   And at that point you would agree you knew no        14   the flight path was walked, nothing was found so --
15   drugs were found in relation to the traffic stop from            15   but three grams of Fentanyl isn't a big bag. It could
16   October 2nd, 2020?                                               16   have been anywhere in there on the road.
17           A   Correct.                                             17          Q   And I know you said Mr. Sumpter said Mr.
18           Q   And that would have included the search of           18   Barasky always brought drugs with him previously?
19   the car?                                                         19          A   Um-hum.
20           A   Yes.                                                 20          Q   Did he tell you that --
21           Q   And the dry cell information from the                21          A   Yes. Sorry.
22   Lycoming County Prison?                                          22          Q   That's okay. Did he tell you that before you
23           A   Yes.                                                 23   arrested Mr. Barasky on October 2nd or after?
24           Q   Why didn't you request that the charge be            24          A   Before.
25   dismissed at the preliminary hearing then since no               25          Q   Did you ever use Mr. Sumpter as an informant

                                                                 78                                                                   80
1    drugs were found?                                                1    or source for another case after arresting Mr.
2                MR. WHITE: Objection to form. You can                2    Barasky?
3    answer.                                                          3           A   I did not. He went to rehab.
4                THE WITNESS: Because in my -- to the                 4           Q   Was Mr. Sumpter going to rehab the only
5    attempted delivery, he still -- there was still a                5    reason you didn't use him as a source again?
6    felony that had occurred, so I wasn't going to drop              6           A   Yes.
7    that.                                                            7           Q   To the best of your knowledge, did Joshua
8    BY MR. GRYSKEWICZ:                                               8    Bell have any involvement in the Barasky investigation
9            Q   So your belief, the crime of criminal                9    after he asked the Lycoming County Prison to place
10   communication -- excuse me. It was your belief that              10   Barasky in the dry cell?
11   the crime of criminal use of a communication facility            11          A   He did not. No.
12   still occurred?                                                  12          Q   Again, to the best of your knowledge, did
13           A   Yes.                                                 13   Detective Tyson Havens have any involvement in the
14           Q   Okay. And that was true even absent finding          14   Barasky investigation after Barasky was arrested on
15   any drugs?                                                       15   October 2nd?
16           A   Yes.                                                 16          A   I think other than -- I believe he testified
17           Q   Would you agree with me that after your              17   at suppression, but --
18   testimony at the preliminary hearing, Magistrate                 18          Q   Okay.
19   Solomon bound the charge over to the Court of Common             19          A   -- I'm not sure of anything else.
20   Pleas?                                                           20          Q   So other than testimony in court, you're not
21           A   Yes.                                                 21   sure of anything else?
22           Q   At the time you filed the criminal complaint         22          A   No.
23   in front of you, what did you believe your probable              23          Q   Did Chief Hope from the Old Lycoming Township
24   cause was for charging Mr. Barasky with criminal use             24   police have any involvement in the Barasky
25   of a communication facility?                                     25   investigation after Barasky was arrested?


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1            A    No.                                                  1    informant's house or continue straight onto Eckard
2            Q    Did Sergeant, now Captain Kriner, of the Old         2    Road?
3    Lycoming Township Police Department, have any                     3                MR. WHITE: Same objection. Go ahead.
4    involvement in the Barasky investigation after he was             4                THE WITNESS: Other than the text messages
5    arrested on October 2nd?                                          5    telling -- telling Mr. Sumpter to head out, I don't
6            A    No.                                                  6    know.
7            Q    Same question for Clinton Gardner. Did               7    BY MR. GRYSKEWICZ:
8    Clinton Gardner have any involvement in the Anthony               8           Q    Okay. As part of your drug investigations as
9    Barasky investigation after he was arrested on October            9    a police officer, would you agree with me that
10   2nd?                                                              10   oftentimes you will view a drug transaction occur and
11           A    No.                                                  11   then arrest the drug dealer at a later date?
12           Q    And would you agree with me that the criminal        12          A    Yes. That's primarily what a control buy is,
13   use of a communicate facility charge you filed against            13   yes.
14   Mr. Barasky was ultimately dismissed by President                 14          Q    Why didn't you select that option for Anthony
15   Judge Butts?                                                      15   Barasky in this case?
16           A    Yes.                                                 16          A    Because we knew Mr. Sumpter was intending on
17           Q    You know, we talked about the briefing               17   going to rehab and we wanted to -- again, we used him
18   previously at the Old Lycoming Township Police                    18   as a confidential source and not a confidential
19   Department prior to Mr. Barasky's arrest. Did that                19   informant. And it was kind of -- that afternoon we
20   briefing happen at your direction?                                20   acted on it and went from there.
21           A    If I recall, it happened at Josh Bell's              21          Q    In your experience as a police officer, how
22   direction.                                                        22   many arrests do you estimate you made in total?
23           Q    And you said that would have been standard           23          A    I've made over 300 within a NEU. In total,
24   procedure for the NEU at the time to hold such a                  24   I'm not 100 percent sure, but -- within the NEU I've
25   briefing?                                                         25   made over 300.

                                                                  82                                                                    84
1            A    Yes.                                                 1           Q    And how many of those 300 arrests or so in
2            Q    And what was the overall purpose of that             2    the NEU have been for drug crimes?
3    briefing?                                                         3           A    290.
4            A    To assign everybody their jobs of what they          4           Q    Almost all of them?
5    were going to be doing within the mission, if you                 5           A    Almost all of them, yeah.
6    will.                                                             6           Q    Okay. So you would be familiar with the
7            Q    I'm going to bring you back to that map, if          7    charge criminal use of a communication facility under
8    you would take a look at that. So the plan that was               8    Section 7512 of the Crimes Code?
9    created was to stop Barasky on Eckard Road after                  9           A    Yes.
10   turning off Lycoming Creek Road. Is that right?                   10          Q    Can you explain when you as a police officer
11           A    Yes, I believe that was where they were going        11   would believe that charge should be filed against a
12   to make the stop. Yes.                                            12   person?
13           Q    Okay. Would you agree with me that if you            13          A    When a felony under the Drug Act has been
14   allowed Barasky to turn onto Miller Road, there would             14   committed. Attempted delivery is a felony under the
15   have been no other way for Barasky to exit that area              15   Drug Act.
16   besides from Miller Road?                                         16          Q    And you would agree with me that your
17                MR. WHITE: Objection to form. You can                17   reasoning for filing that charge against Anthony
18   answer.                                                           18   Barasky is because you believe that attempted delivery
19                THE WITNESS: That would have allowed him to          19   of a controlled substance occurred?
20   flee up into the -- the development, which was exactly            20          A    Yes.
21   what we were trying to prevent.                                   21          Q    When you were charging Anthony Barasky, why
22   BY MR. GRYSKEWICZ:                                                22   didn't you charge him with attempted delivery of a
23           Q    Would you agree with me that since Barasky           23   controlled substance?
24   was stopped on Eckard Road, you don't know if Barasky             24          A    I believe that would have been amended at a
25   was going to turn onto Miller Road to head toward the             25   later date, is why we didn't do it at that time.


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1          Q     Okay. Besides Mr. Barasky's case, in your          1    trained to do in response to that?
2    career have you ever charged somebody with criminal            2          A     I'm not sure I understand the question.
3    use of communication facility and no other crime?              3          Q     Let me try to rephrase it. So if another
4          A     No.                                                4    police officer requests your assistance with an arrest
5          Q     Have you ever charged someone with the             5    in their investigation, you've had no part in their
6    attempted delivery of a controlled substance in your           6    investigation.
7    career?                                                        7          A     Um-hum.
8          A     Yes.                                               8          Q     What are you trained to do to make sure you
9          Q     How many times would you estimate you did          9    have the authority under the law to arrest them?
10   that? If you don't know, you don't know.                       10         A     I'm sorry, I still don't understand what
11         A     I don't know.                                      11   you're trying to get at with this question. I
12         Q     You've received specific training for using        12   don't --
13   confidential informants through your career as a               13         Q     So -- yeah, let me ask it a different way.
14   police officer, is that right?                                 14   So if another police officer requests your assistance
15         A     Yes.                                               15   with arresting somebody from their investigation --
16         Q     And you also have, you know, extensive             16         A     Um-hum.
17   experience using confidential informants in drug               17         Q     -- you have no part in that investigation --
18   cases?                                                         18         A     Yes.
19         A     Yes.                                               19         Q     -- would you be trained to do anything to
20         Q     You said you made about 300 arrests through        20   verify that that officer has probable cause to arrest
21   the NEU. How many of those arrests do you -- would             21   that person?
22   you estimate came from confidential informants?                22         A     Yes, I would review their reports and --
23         A     200.                                               23   and -- I mean, most times I don't make an arrest from
24         Q     I know you described for us earlier the            24   other officers unless they're within my unit, so I'm
25   difference between a confidential source and a                 25   not sure.

                                                               86                                                                    88
1    confidential informant. Through your training and              1          Q     So with them being in your unit, you would
2    experience, what do you do to make sure a confidential         2    talk about, at least, and ask what's going on?
3    source is reliable?                                            3          A     Yes.
4          A     I mean, we -- in the specific -- are you           4          Q     The last two questions. Was your employment
5    talking about specifically this one or just in                 5    as a police officer in 2000 your only source of
6    general?                                                       6    income?
7          Q     Just in general.                                   7          A     Navy Reserves.
8          A     You know, we still run their -- their rap          8          Q     Navy Reserve. Okay. Excluding the Navy
9    sheet. We try and -- we interview them, but -- and             9    Reserve income, what was your annual pay for
10   try and deem that the information they're giving is            10   employment as a police officer in 2020?
11   correct or is reliable through individual -- or                11         A     I don't recall. I don't recall my hourly
12   independent corroboration.                                     12   rate at that time.
13         Q     And if a confidential source has never             13         Q     Okay. What is it now?
14   provided you with accurate information previously, do          14         A     30 -- I can look it up on my phone, if you're
15   you do anything additional to determine if they're             15   willing to let me look in my phone. I don't know --
16   reliable for not? This is again in general, not                16         Q     I'm fine with that, as long as Mr. White is.
17   specific to Mr. Barasky.                                       17               MR. WHITE: If you want to look it up, that's
18         A     Sure. If the individual that they're giving        18   fine with me.
19   information on has been arrested prior to for drug             19               THE WITNESS: It is $33.43 an hour.
20   related incidents, if we have knowledge outside of the         20   BY MR. GRYSKEWICZ:
21   confidential source, from another source that                  21         Q     Is it fair to say you work more than 40 hours
22   there's -- the individual is selling or using drugs            22   a week oftentimes?
23   within the area.                                               23         A     Yeah.
24         Q     If you're requested for assistance with an         24         Q     How much do you estimate you -- how many
25   arrest from another police officer, what are you               25   hours a week do you think you work?


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1           A    Average between 40 and 45, probably.                 1            A   I thought you meant on the scene, if I had to
2                MR. GRYSKEWICZ:       Okay. That's all the           2    fill out paperwork to have it towed.
3    questions I have. Thank you for your cooperation,                3            Q   No.
4    Detective Dent.                                                  4            A   Okay. Then yes.
5                MR. WHITE: I have some questions. It's a             5            Q   Just after.
6    matter of whether or not --                                      6            A   Yes.
7                MS. LAUGHLIN: Yeah, go ahead. Do you want            7            Q   And this report also indicates on Page 3 of 8
8    me to go first?                                                  8    that it's an NEU case, so all records would be
9                MR. WHITE: Yeah, go ahead.                           9    maintained by the NEU?
10                              CROSS-EXAMINATION                     10           A   Correct.
11   BY MS. LAUGHLIN:                                                 11           Q   Do you have any information as to when the
12          Q    Good morning, Detective Dent.                        12   vehicle was released?
13          A    Good morning.                                        13           A   It would have been released -- so I would
14          Q    By name is Shawna Laughlin and I represent           14   have done the search warrant and then I would have
15   Gardner and Bell with regard to this lawsuit.                    15   immediately made it releasable following the search
16          A    Okay.                                                16   warrant because it was a rental vehicle. We would
17          Q    I just have a few questions. I believe               17   have had no intention of seizing it or anything like
18   Captain Bell had testified that you were, I think, the           18   that.
19   case officer related to this investigation. Would                19           Q   Do you know when it was picked up from the
20   that be correct?                                                 20   impound lot?
21          A    Sure. Yes.                                           21           A   I do not, no.
22          Q    So you were the one who filled out the NEU           22           Q   Do you have any records or would the NEU have
23   report, the criminal complaint, the search warrant,              23   any records as to when it was picked up?
24   things like that to --                                           24           A   Those records, I believe, would have been
25          A    Yes.                                                 25   maintained by Williamsport police because it was their

                                                                 90                                                                    92
1           Q    -- complete the investigation?                       1    impound.
2           A    Yes.                                                 2            Q   Do you know who picked up the vehicle?
3           Q    And the vehicle that Barasky was driving,            3            A   I do not.
4    that was towed to the Wilkes-Barre Bureau of Police              4            Q   There had been some questions or testimony
5    Department impound lot?                                          5    about Sumpter being -- having used drugs on October
6           A    Williamsport Bureau of Police.                       6    2nd of 2020 when the arrest of Barasky happened.
7           Q    The impound lot?                                     7            A   Yes.
8           A    Yeah. You said Wilkes-Barre. Williamsport            8            Q   And at the time that you met with Sumpter,
9    Bureau --                                                        9    did he appear to be under the influence of drugs?
10          Q    Oh, Williamsport.                                    10           A   He would have -- he -- to a state, yes.
11          A    Yes.                                                 11   To -- but not -- I don't know how to put it.
12          Q    I'm sorry. And the paperwork that had to be          12           Q   Right.
13   filled out for that, that had your name on it as well?           13           A   Like he wasn't falling over himself. He
14          A    There wouldn't have been any paperwork filled        14   could -- he could function, but you could see it in
15   out. There might have been a tow receipt, but I don't            15   his eyes that he had possibly used, yes.
16   think it had my name on it, no.                                  16           Q   Did he appear that his reliability with
17               MS. LAUGHLIN: Are we at 11?                          17   regard to texting Barasky would be affected by the
18               (Whereupon, a document was produced and              18   fact that he may have been under the influence of
19   marked as Plaintiff's Exhibit No. 11 for                         19   drugs at the time?
20   identification.)                                                 20           A   No.
21               THE WITNESS: If you're asking the report             21           Q   Have you had an occasion to call off an
22   writing system, if my name was attached to it, then              22   investigation or a controlled buy because your CI or
23   yes.                                                             23   CS was impaired and you questioned the reliability of
24   BY MS. LAUGHLIN:                                                 24   the information?
25          Q    Okay.                                                25           A   Yes.


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1          Q     And you didn't have to do that here with             1         Q     And so -- and I think you testified that the
2    this --                                                          2    decision to actually use him was something that was a
3          A     I did not.                                           3    decision that you made when you were speaking with him
4                MS. LAUGHLIN: I don't have any other                 4    at his residence on the 2nd, is that right?
5    questions. Thank you.                                            5         A     Yes.
6                MR. KOZLOWSKI: I don't have any questions            6         Q     Because he changed his mind at that point.
7    for him.                                                         7    Is that a fair characterization?
8                                CROSS-EXAMINATION                    8         A     Yes. At that point when I went up to -- with
9    BY MR. WHITE:                                                    9    the charges, he then decided that he wanted to do
10         Q     Detective Dent, I'm going to ask you a few           10   something before he went away to rehab to help -- to
11   questions about some of the things that you went over,           11   help himself out.
12   and I want to start with the text messages, really any           12        Q     You testified a little bit about a plan to
13   of them. I think you've already confirmed that the               13   stop Mr. Barasky prior to getting into the residential
14   person who is -- or is texting with Mr. Sumpter in               14   development at Brentwood Drive. Can you explain from
15   these -- and the name in the phone is Plug, is that              15   your perspective some of the risks that would have
16   right?                                                           16   been subjected to the public, the officers, anyone
17         A     Correct.                                             17   else, had Mr. Barasky entered into that development?
18         Q     What does Plug mean?                                 18        A     Yeah. At the time it would have been after
19         A     Plug is a common term used for somebody who's        19   school hours and potential for buses to be coming
20   selling somebody drugs. That's where they're getting             20   through. There could have been kids playing in the
21   their -- their source of drugs from.                             21   neighborhood. We took that into consideration. A kid
22         Q     So with Mr. Barasky's name being in this             22   could have been injured. It's a -- from me driving
23   phone as Plug, what does that tell you?                          23   through there, it's not a very busy area so there's
24         A     That tells me that Mr. Barasky's the one             24   potential for -- I know my kids would feel safe
25   selling the Fentanyl or heroin or whatever drugs to              25   playing in the street, so there could have been kids

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1    Mr. Sumpter.                                                     1    playing in the street. If a pursuit ensued, there
2          Q     Do you on occasion run into other -- whether         2    would have been a potential for a child to get hit.
3    they're sources -- confidential sources or CI's or               3         Q     Were you familiar -- you had been in that
4    other people who you come across in your industry,               4    Brent Drive development?
5    that use that nomenclature, Plug?                                5         A     I had been, yes.
6          A     It's used almost daily with us, you know,            6         Q     Were the houses close or far away from the
7    when we talk to confidential informants or whoever,              7    road?
8    they'll say my plug is or -- you know, I'm going to              8         A     They're -- I would say they sit back maybe 50
9    hit my plug up to get -- get -- to buy, to --                    9    yards. No, not 50 yards. 20 yards from the road,
10         Q     Have you run into other people who have their        10   give or take. They're -- they seem to be -- you know,
11   source in their phone named Plug?                                11   they're typical quarter to half acre lot type place.
12         A     Yes. I couldn't tell you when. It's                  12        Q     Was the area on -- I think it's Eckard Road,
13   happened several times. I couldn't tell you the last             13   is that the correct road, prior to Miller Road?
14   time, but it has happened, yes.                                  14        A     Right here (indicating)?
15         Q     When you -- I think you testified that you           15        Q     This one that -- the road that Mr. Barasky
16   started -- prior to October 2nd, to consider using               16   was --
17   Sumpter as a source of information. Is that right?               17        A     Yes.
18         A     Yes.                                                 18        Q     -- stopped on.
19         Q     And at the time you started considering using        19        A     Yes.
20   him, he didn't have charges against him, did he?                 20        Q     Tell me, how would you characterize that area
21         A     He did not. No.                                      21   as far as the residences?
22         Q     And those -- because those charges were filed        22        A     I don't recall any residence being on that
23   when?                                                            23   road. It was -- if I remember correctly, there's an
24         A     I believe October 2nd is when I filed the            24   embankment on one side and a field and guard rail on
25   charges.                                                         25   the other side before you made the right-hand turn to


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1    go up into -- onto Miller Road.                                 1    with him on the 2nd, he placed a text message and
2         Q     Now, as far as when you were with Mr. Sumpter        2    almost immediately got a response from Mr. Barasky
3    on October 2nd, tell me the things that you were                3    regarding that I -- regarding what I felt was going to
4    considering as you assessed whether or not he was a             4    be Mr. Barasky bringing drugs to him.
5    reliable source?                                                5          Q      So let me change the question or ask a little
6         A     Could you repeat that one more time, please?         6    different question. I want to know not what you knew
7         Q     Sure. So he went to meet with Mr. Sumpter on         7    about Mr. Barasky based on what Mr. Sumpter told you
8    October 2nd.                                                    8    and what you saw on Mr. Sumpter's phone, but what
9         A     Yeah.                                                9    else -- because you alluded to it a little bit that
10        Q     Right?                                               10   you knew other things about Mr. Barasky. What else
11        A     Yes.                                                 11   did you know about Mr. Barasky relative to him being a
12        Q     Tell me the things that were going on in your        12   suspected drug dealer?
13   head as far as your analysis of him as being a                  13         A      Again, we had information from other law
14   reliable source that you could use to set up the buy            14   enforcement officers within the area, coupled with
15   with Mr. Barasky.                                               15   what Detective Havens had encountered with him in his
16        A     I had previous knowledge of Mr. Sumpter being        16   prior dealings as a trooper, which, you know, led me
17   just a user. I think Old Lycoming Township had had              17   to -- with the totality of all that, led me to
18   contacts with him, and they had indicated that he was           18   believe that Mr. Barasky was, in fact, a drug dealer
19   a user and they didn't believe he was selling, if I             19   and would bring Fentanyl to Mr. Sumpter.
20   recall. In my opinion, him selling Suboxone to my --            20         Q      As you testified, there were no -- no drugs
21   the previous confidential informant indicated he                21   were found on Mr. Barasky, to your knowledge, after --
22   wasn't a big-time dealer. He was selling a                      22   as a result of this stop. Do you have any idea why
23   prescription to get money so he could go and then in            23   that may be the case?
24   turn buy for himself.                                           24         A      Again, the area where the traffic stop
25              So that -- those are the time of things we           25   happened, he would have turned off of old -- I'm

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1    take into consideration, where we don't think that              1    sorry, Lycoming Creek Road onto -- again, this road
2    they're a dealer and they're a user and we could work           2    name -- I forget the actual road name. But in that
3    our way up the ladder to the actual dealer that                 3    area there's no real -- it's a field and a bank. And
4    they're getting from.                                           4    if somebody wasn't right behind him at the -- like
5         Q     Is there anything else you -- observations           5    right on him, if he opened the window and tossed it
6    you had of Mr. Sumpter that led you to believe that he          6    out, even though walking that flight path, it could
7    was a reliable source?                                          7    have been hard to find three grams of Fentanyl, which
8         A     I'm not -- not that I'm aware. I mean, he --         8    is -- you know, could be just the size of my
9    he -- no. Not that I'm aware of. Sorry.                         9    thumbnail.
10        Q     Let me ask a little bit more specifically of         10         Q      And in your experience with the NEU, have on
11   a question.                                                     11   occasion a person who's going to sell drugs thrown it
12        A     Yeah, please.                                        12   out the window?
13        Q     How about as far as with respect to Mr.              13         A      Yes.
14   Barasky, when Mr. -- Mr. Sumpter told you or reported           14         Q      Is that common?
15   back in April that -- or excuse me. Reported back in            15         A      I don't know how common -- it has happened.
16   September that he was able to call Barasky at any time          16   I mean, I wouldn't say it's a daily thing, but it
17   and meet him shortly after to purchase Fentanyl. Does           17   definitely has happened, especially with somebody who
18   that sound correct?                                             18   would have gone through this type of thing in their
19        A     Yes.                                                 19   previous -- you know, previous -- I don't know how to
20        Q     And so what did you -- when you were meeting         20   put it. Not previous life, but previous -- you know.
21   with Mr. Sumpter on the 2nd, what did you know about            21   Again, he had been stopped or attempted to be stopped
22   Mr. Barasky at that time as far as him being -- I               22   by Detective Havens when he was a trooper, so he --
23   think you characterized it as a known drug dealer.              23   Mr. Barasky would have known what was going on and saw
24        A     Like -- so from the meeting on the 24th, he          24   the signs and could have tossed it out.
25   was able to contact him whenever, and then when I met           25         Q      Is that your belief, that he tossed it out


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1    the window?                                                        1         A      Well, a lot of times, one, if they go to
2          A      That's my belief, yes.                                2    rehab, that then drug dealers won't deal with them
3          Q      And the terrain in that area on Eckard                3    outside because they think that they're then
4    Road --                                                            4    cooperating with the authorities. Two, a lot of times
5          A      Um-hum.                                               5    they don't -- they don't want to continue because they
6          Q      -- it's heavily wooded?                               6    don't want to put themselves -- Mr. Sumpter being a
7          A      Yes.                                                  7    heavy drug user, put themselves into that lifestyle
8          Q      Would it be difficult for a small -- would it         8    against for fear that they're going to relapse.
9    be difficult to find a bag of that size of Fentanyl in             9                And at that time, if I remember correctly, we
10   that area?                                                         10   spoke with -- I believe I spoke with the DA and they
11         A      It would be, yes.                                     11   said that if he went to treatment, it would be part of
12         Q      The -- or you were asked questions about the          12   his conditions for -- for his cooperation.
13   criminal complaint that you filed against Mr. Barasky              13        Q      So someone who's in rehab and not trying to
14   and about secured bail and things of that nature. As               14   use drugs any more is not really an ideal source of
15   far as what you put in the criminal complaint, are you             15   information or informant, is that right?
16   required to list in there potential defenses that                  16        A      Correct.
17   could be raised in response to your probable cause                 17               MR. WHITE: I don't have any further
18   allegations?                                                       18   question.
19         A      No.                                                   19                             REDIRECT EXAMINATION
20         Q      Would that be unusual to put something of             20   BY MR. GRYSKEWICZ:
21   that nature in an affidavit of probable cause?                     21        Q      I have some follow-up questions for you.
22         A      Yes.                                                  22        A      Um-hum.
23         Q      And as far as the actual approval of the              23        Q      So you said Mr. Sumpter was under the
24   criminal complaint, that's performed by the District               24   influence, but not to an extreme degree where he was
25   Attorney's Office. Is that correct?                                25   falling over. Is that accurate?

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1          A      Yes.                                                  1         A      Correct.
2          Q      And in this case for Mr. Barasky, it reflects         2         Q      Now, you said like in the past you called off
3    on the criminal complaint Ryan Gardner, the District               3    investigations because an informant might be impaired?
4    Attorney, approved these charges. Is that right?                   4         A      We've gone to houses where an informant
5          A      Yes.                                                  5    was -- we were supposed to meet with them and they
6          Q      So he would have reviewed these and said yes          6    were overdosing when we got there and we had to call
7    or no?                                                             7    the ambulance, so yes.
8          A      Yes.                                                  8         Q      So are those on only occasions where you
9          Q      And he said yes in this case?                         9    called off a controlled buy or other investigation
10         A      He did, yes.                                          10   because the informant's impaired?
11         Q      And in terms of the bail sought, you were             11        A      You mean if they're overdosing or just in
12   asked questions about the recommendation of secured                12   general? Like --
13   bail versus some other type of bail. As far as what                13        Q      Yeah, let me re-ask it. So, you know, we
14   the bail is set as, is that your decision or is that               14   know you said that you called off investigations
15   the judge's decision?                                              15   before because an informant might be impaired.
16         A      It's the judge's decision.                            16        A      Um-hum.
17         Q      And have you on occasion recommended                  17        Q      Is the only time you've called off
18   something that was not accepted by the judge?                      18   investigations because an informant's impaired when an
19         A      Yes.                                                  19   informant is overdosing?
20         Q      And you were also testifying a little bit             20        A      No.
21   about Mr. Sumpter, and I think you said that you did               21        Q      So could you describe the other situations
22   not use him again because he went to rehab. Can you                22   where you've called off an investigation where an
23   explain why that's significant in terms of your                    23   informant's too impaired to do it, not overdosing?
24   ability or inability to use Mr. Sumpter as a source in             24        A      Like where we feel they're unsafe to function
25   the future?                                                        25   outside of our -- our supervision, because ultimate an


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1    informant's going to basically walk away from us to              1         A     He would be, yes.
2    buy drugs and then come back to us.                              2         Q     You know, you stated that you believed Mr.
3         Q      So could you describe that? You know, for us         3    Sumpter was a user and not a seller of drugs. Is that
4    laypersons, what would a person do if they were unsafe           4    right?
5    to function because they're too impaired by drugs?               5         A     Yes.
6         A      Falling over as they're walking. They can't          6         Q     Wouldn't that opinion be contradicted by what
7    formulate sentences, things like that. Mr. Sumpter,              7    your informant told you on September 23rd, 2020?
8    however, could formulate a sentence and I knew that he           8               MR. WHITE: Objection to form. You can
9    was going to be sitting next to me throughout the                9    answer.
10   entire investigation, which is what I brought -- took            10              THE WITNESS: Yes. However, a lot of users
11   into my consideration when doing it.                             11   go to Kensington and Philadelphia and will spend a lot
12        Q      Okay. So a person would really have to be            12   of money on Fentanyl to come back because it's cheaper
13   too impaired to conduct normal functions, like talking           13   to buy large amounts of -- or it's cheaper to get
14   or walking, for you to be able to call off an                    14   Fentanyl wholesale in Kensington than it is to buy it
15   investigation because of that impairment?                        15   up here.
16        A      I mean, most -- most people we deal with             16   BY MR. GRYSKEWICZ:
17   are -- almost walk around impaired, so it's hard to              17        Q     You would agree with me that your informant
18   say that. But like, yes, if they can't function as a             18   on September 23rd told you that Mr. Sumpter was
19   human being, then we're not going to use them as a               19   looking for customers to sell his Fentanyl to?
20   confidential informant on that specific time.                    20        A     I don't recall saying that. Is it is my
21        Q      Okay. And you discussed the Plug as -- Mr.           21   report?
22   Sumpter had Mr. Barasky entered into his phone as                22        Q     I forget what exhibit this is. I start on
23   Plug, and Plug means drug dealer; right?                         23   this page. I direct you to that second page there.
24        A      Yes.                                                 24        A     Okay.
25        Q      You would agree with me, you testified that          25        Q     So would you agree with me that your

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1    you did not look through Mr. Sumpter's phone on                  1    informant on September 23rd, told you Mr. Sumpter was
2    September 24th, 2020, right?                                     2    actively looking for customers to buy his Fentanyl?
3         A      Yes.                                                 3         A     That informant did, yeah.
4         Q      And then on October 2nd, 2020, after Mr.             4         Q     And you said that was the most reliable
5    Sumpter already accused Mr. Barasky of being a drug              5    informant the NEU ever had?
6    dealer on September 24th, 2020, is when you looked               6         A     Yes, throughout the years. Although, I mean,
7    through his phone?                                               7    informants can go -- informants can be reliable for
8         A      Yes.                                                 8    years on end and then -- and then change on the flip
9         Q      So for all you know, Mr. Sumpter could have          9    of a dime, so --
10   entered Barasky as Plug in his phone after September             10        Q     Do you have any reason to believe that
11   24th, 2020, but prior to you viewing his phone on                11   informant was unreliable on September 23rd, 2020?
12   October 2nd, 2020.                                               12        A     I hadn't used that informant for a while.
13               MR. WHITE: Objection to form. You can                13   That was just information. But given his pedigree
14   answer.                                                          14   that he had, there was -- the District Attorney
15               THE WITNESS: I guess he could have. Yes. I           15   allowed me to do the search warrant that way.
16   mean, anybody can change a name at some point in their           16        Q     Okay. You also said that you had information
17   phone.                                                           17   from other officers in the area that Mr. Barasky was
18   BY MR. GRYSKEWICZ:                                               18   involved in drug activity. Is that right?
19        Q      And you would agree with me that Mr. Sumpter         19        A     And using -- using drugs, yes.
20   would have had to put Plug in his phone for that                 20        Q     So you -- so was the information --
21   contact?                                                         21        A     I'm sorry. Did you say Sumpter or Barasky?
22        A      Yes.                                                 22        Q     Barasky. Yes.
23        Q      And you would also agree with me that Mr.            23        A     Oh, yes. I'm sorry.
24   Sumpter would be aware of what Plug meant in drug                24        Q     No, that's okay.
25   parlance?                                                        25        A     Yes.


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1         Q      So that previous answer was referring to Mr.         1    that it was unusual to put a defense for a person into
2    Sumpter you thought was a user?                                  2    an affidavit of probable cause attached to a criminal
3         A      Yes.                                                 3    complaint. Is that right?
4         Q      Not Mr. Barasky?                                     4         A     Yes.
5         A      Yes.                                                 5         Q     This might be the lawyer in me making a
6         Q      Okay. So you said that you had information           6    distinction between a defense and a fact in the case.
7    in the area from other law enforcement agencies or               7    Would you agree with me that a person not being found
8    police officers that Mr. Barasky was actively selling            8    with drugs, that's a fact a judge would want to know
9    drugs in 2020.                                                   9    as part of their bail decision?
10        A      Yes.                                                 10              MR. WHITE: Objection to form. You can
11        Q      Is that right? Where did that information            11   answer.
12   come from?                                                       12              THE WITNESS: I mean, there's also factors of
13        A      We have a drug tip line, along with patrol           13   him -- I think one of the main factors was him being a
14   officers within Williamsport would have -- would have            14   flight risk is why we -- we asked for bail on him.
15   got information from people on the street telling                15   BY MR. GRYSKEWICZ:
16   them.                                                            16        Q     I'm not saying Mr. Barasky, you know,
17        Q      Okay. Did you keep track of those tips in            17   specifically in this case, just in general. Would you
18   any way?                                                         18   believe a judge would want to know if drugs were found
19        A      Not documented, no. We just keep it in the           19   or not if you're charging somebody with a crime?
20   back of our mind.                                                20              MR. WHITE: Same objection. Go ahead and
21        Q      Okay. So it's not something that you would           21   answer.
22   take a tip from the Williamsport police, for example,            22              THE WITNESS: Yeah, but I didn't charge him
23   that Mr. Barasky's selling drugs and then go                     23   with the drugs, I charged him with the phone.
24   investigate it immediately?                                      24   BY MR. GRYSKEWICZ:
25        A      No. We keep it in the back of our mind, see          25        Q     Okay.

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1    if we can -- see if an informant then says the same              1         A     So my probable cause -- my affidavit
2    thing, and then we try and send that informant in to             2    reflected that.
3    an individual, that individual being Mr. Barasky.                3         Q     Okay. Now, you also said District Attorney
4         Q      So for all you know, that information could          4    Ryan Gardner would have approved that criminal
5    have been from anonymous sources?                                5    complaint?
6         A      Could have been, yeah.                               6         A     Yes.
7         Q      Okay. And it could have also been from a             7         Q     Did you speak with Ryan Gardner on the phone
8    named citizen?                                                   8    personally to do it?
9         A      Could have been, yeah.                               9         A     Yes.
10        Q      Okay. You just don't know?                           10        Q     Would you -- would you have read Mr. Gardner
11        A      I don't.                                             11   the affidavit of probable cause?
12        Q      Okay. Now, you also stated that you think            12        A     Verbatim, yes.
13   Mr. Barasky might have thrown the drugs out of the               13        Q     Would you have give him any information
14   window of the vehicle on Eckard Road?                            14   outside of that affidavit?
15        A      I suspect that, yes.                                 15        A     We -- we indicated what was going on and what
16        Q      Okay. You also said you had officers canvas          16   the intention was for the search warrant on the
17   that area to search for it?                                      17   vehicle and the dry cell and everything like that.
18        A      They did a walk. I mean, they didn't spend           18        Q     And did you tell Mr. Gardner that no drugs
19   more than 15 minutes making the walk. Again, it's a              19   were found?
20   pretty wooded area. Could have taken hours on end to             20        A     Yes.
21   locate something like that.                                      21        Q     Did you tell Mr. Gardner that Mr. Sumpter
22        Q      Okay. But they did look, they didn't find            22   never acted as a confidential source before?
23   anything?                                                        23        A     I don't know that I would have said that, no.
24        A      Yes.                                                 24        Q     Did you tell Mr. Gardner that Mr. Sumpter
25        Q      The road that -- or I'm sorry. You stated            25   might have been under the influence?


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1                 MR. WHITE: Objection to form on privilege.            1    the -- what I'll say -- call the bottom right corner?
2    I let it go a little bit, but I can't let it go any                2          A      Yes.
3    more. Don't answer.                                                3          Q      And the entry at Miller Road and Eckard Road?
4                 THE WITNESS: Okay.                                    4          A      Yes.
5    BY MR. GRYSKEWICZ:                                                 5          Q      Could you with a -- do you have a pen?
6          Q      You also said that you did not use Mr.                6          A      I don't have one.
7    Sumpter as an informant again because he went to                   7          Q      Could you circle -- as far as your testimony
8    rehab?                                                             8    that the -- or actually, strike that.
9          A      Correct.                                              9                 Can you identify Mr. Sumpter's residence on
10         Q      So would you also agree with me that you              10   this satellite image?
11   didn't use him as an informant because the NEU                     11         A      I believe it's this one (indicating). Do you
12   regulations would have prohibited a person with                    12   want me to circle it?
13   criminal charges from acting as an informant?                      13         Q      Yes, if you could.
14         A      As a -- as a -- not an informant,                     14         A      I believe it's this one right here
15         Q      No, I mean, as an informant in this case, not         15   (indicating).
16   a source. So let me re-ask the question. So -- I                   16         Q      Could you just put an S in there?
17   guess, let me back up and get a distinction to your                17         A      Do you want it on top of it or --
18   prior answer, too. You never used Mr. Sumpter again                18         Q      Or to the side, whatever you prefer.
19   as a confidential source, right?                                   19         A      Okay.
20         A      Or an informant, no.                                  20         Q      And the area that Mr. Barasky was traveling
21         Q      Or a informant. So it was both. And the               21   through --
22   reason for not using him as both is because he went to             22         A      Um-hum.
23   rehab?                                                             23         Q      -- can you circle that area?
24         A      Yes.                                                  24         A      Like before -- prior to being stopped?
25         Q      Okay. Would you agree with me that a second           25         Q      Yes, the path that you believe he was on.

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1    reason to not use him as both would be because he had              1          A      (Witness complied.)
2    criminal charges pending against him?                              2          Q      And you've circled the section of road -- of
3          A      Had I used -- had I decided to use him, I             3    Eckard Road which -- and it looks like from a little
4    would have officially signed him up then and he would              4    bit north of the National Tank and Equipment up to
5    have been allowed to.                                              5    about Miller Road. Does that sound fair?
6          Q      Okay. Despite the NEU regulations saying              6          A      Yes.
7    someone with pending criminal charges can't be an                  7          Q      Now, the -- the wooded area that appears in
8    informant?                                                         8    that circle, is that the area that you believe the
9          A      They say he can't a source, not a informant.          9    drugs could have been tossed?
10                MR. GRYSKEWICZ: Okay. That's all the                  10         A      Yes.
11   question I have.                                                   11         Q      Would you call that -- how would you
12                                RECROSS-EXAMINATION                   12   characterize that area as far as topography?
13   BY MR. WHITE:                                                      13         A      Heavily wooded forest area.
14         Q      I want to show you what we'll call -- what            14         Q      And do you know when the walk through
15   number are we at?                                                  15   occurred to search that area or to check that area for
16                MR. BLANK: 12.                                        16   drugs?
17                MR. WHITE: Number 12, call this.                      17         A      I would say probably within 10 to 15 minutes
18                (Whereupon, a document was produced and               18   after the stop, after Barasky was in custody and he
19   marked as Plaintiff's Exhibit No. 12 for                           19   was read Miranda and things like that.
20   identification.)                                                   20         Q      And so when the officers walked that road,
21   BY MR. WHITE:                                                      21   was that before -- was that before the vehicle had
22         Q      I guess it's Exhibit 12. Do you recognize             22   been searched for the search warrant?
23   what this satellite image reflects, Detective Dent?                23         A      Oh, yes. It was the day of the stop, yes.
24         A      Yes.                                                  24         Q      So at the time that they would have walked
25         Q      Is this the development at Brentwood Drive in         25   that section of road, they wouldn't have known whether


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1    or not something could be recovered in the dry cell,              1    from?
2    right?                                                            2           A     Which phone -- I made it from my --
3            A    Correct.                                             3           Q     Correct.
4            Q    And they also wouldn't have known whether or         4           A     My work cell phone number.
5    not there could be something recovered in the vehicle             5           Q     And what phone number is that?
6    search?                                                           6           A     570-560-0574.
7            A    Correct.                                             7           Q     And that would have been after the arrest of
8            Q    So the search -- the walk through of that            8    Mr. Barasky that you made the call?
9    section, what does that tell you about -- or what does            9           A     Yes.
10   all that tell you about the way that section would                10                MS. LAUGHLIN: I don't have any other
11   have been walked through and searched at the time it              11   question. Thank you.
12   occurred?                                                         12                MR. WHITE: I do, just on that, but --
13           A    It wouldn't have been as extensive. They             13                MR. GRYSKEWICZ: Yeah, I have just on that.
14   would've done that because they would have searched               14   You can go -- go ahead if you like, ask my question.
15   Mr. Barasky, nothing on him, and maybe where he can               15                              RECROSS-EXAMINATION
16   reach within the vehicle, but that would have been all            16   BY MR. WHITE:
17   that would have been searched in the vehicle prior to             17          Q     So you -- I think you said that that -- you
18   having a search warrant. And then we wouldn't have                18   made that call. Did anyone answer that phone when you
19   had knowledge of the dry cell at that point, so it                19   called it?
20   would have just been a -- a quick walk through,                   20          A     No one answered it. A picture was taken of
21   nothing extensive. Just to make sure -- just to see               21   the phone that Detective Havens had in his custody.
22   if anything had been tossed out.                                  22          Q     What were you -- did you talk with Detective
23                MR. WHITE: All right. I have no further              23   Havens when you were making that phone call?
24   questions.                                                        24          A     I did. I used my personal cell phone to talk
25                THE WITNESS: Is this one going in?                   25   to Detective Havens, indicating that I was calling the

                                                                 118                                                                     120
1                 MR. WHITE: Yeah.                                     1    phone number that was Plug, and to see if the phone
2                              REDIRECT EXAMINATION                    2    that he had taken off Mr. Barasky would ring. And it
3    BY MR. GRYSKEWICZ:                                                3    did.
4            Q    I have one more question just based on that          4           Q     Did he tell you it rang?
5    map.                                                              5           A     He did, and he took a picture of my -- my
6            A    Yep.                                                 6    phone number on the screen of that phone.
7            Q    Could you also mark on that map the area             7           Q     So what does that tell you?
8    where Sumpter told you he would normally meet Mr.                 8           A     That the phone that Mr. Barasky had on him
9    Barasky? I think that's a bit of a better depiction.              9    was the cell phone used to set up the drug deal that
10           A    Yep. Do you want an X or how do want it              10   was supposed to have happened.
11   marked?                                                           11                MR. WHITE: I don't have any further
12           Q    If you want to put an X, that would be fine.         12   question.
13           A    And just like M for meet up?                         13                              REDIRECT EXAMINATION
14           Q    That would be fine?                                  14   BY MR. GRYSKEWICZ:
15           A    (Witness complied.)                                  15          Q     That phone call to -- that Detective Havens
16                MR. GRYSKEWICZ: Thank you. That's all I              16   received on the phone seized from Mr. Barasky, do you
17   have.                                                             17   know where Detective Havens was when that phone call
18                             RECROSS-EXAMINATION                     18   would have happened?
19   BY MS. LAUGHLIN:                                                  19          A     Either in route to the police station or at
20           Q    Detective Dent --                                    20   the police station. I'm not 100 percent sure.
21           A    Yes.                                                 21          Q     Okay. So that would have been after Mr.
22           Q    -- did you make a phone call to the cell             22   Barasky was transported from the scene of the traffic
23   phone number that was in Mr. Sumpter's phone as Plug?             23   stop to the Old Lycoming Township police station?
24           A    Yes.                                                 24          A     Yes.
25           Q    And what phone number did you make that call         25          Q     Did you ever issue a search warrant to search


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1    that phone recovered from Mr. Barasky?                              1    COUNTY OF UNION                       :
2         A        I did not.                                            2    COMMONWEALTH OF PENNSYLVANIA
                                                                                                       :
3         Q        And why didn't you?                                   3

4         A        I don't know. I just -- I just did not.               4               I, Ervin S. Blank, the undersigned Notary
5         Q        Okay. And did you ever obtain the subscriber          5    Public, do hereby certify that personally appeared
6    information from that phone to determine who owned                  6    before me, KEVIN DENT; the witness, being by me first
7    that number?                                                        7    duly sworn to testify the truth, the whole truth and
8         A        I did not.                                            8    nothing but the truth, in answer to the oral questions
9         Q        And any particular reason you didn't do that?         9    propounded to him by the attorneys for the respective
10        A        Because when I made the phone call to the             10   parties, testified as set forth in the foregoing
11   phone that was on Mr. Barasky, my number showed up                  11   deposition.
12   on -- on the screen, so I took that as it was his                   12              I further certify that before the taking of
13   phone and he was in control of it.                                  13   said deposition, the above witness was duly sworn,
14        Q        And you would agree, since you reference that         14   that the questions and answers were taken down
15   phone call in the affidavit of probable cause, you                  15   stenographically by the said Ervin S. Blank, Court
16   knew about that, the phone call that Detective Havens               16   Reporter, Lewisburg, Pennsylvania, approved and agreed
17   took a picture of prior to filing criminal charges?                 17   to, and afterwards reduced to typewriting under the
18        A        Yes.                                                  18   direction of the said Reporter.
19        Q        But it was after arresting Mr. Barasky?               19              In testimony whereof, I have hereunto
20        A        After taking Mr. Barasky into custody is when         20   subscribed my hand this 28th day of March, 2024.
21   I made that phone call, and then -- and then did the                21

22   affidavit of probable cause, yes.                                   22

23                 MR. GRYSKEWICZ: Okay. Thank you.                      23                                      __________________________
                                                                                                                 Ervin S. Blank
24                 MS. LAUGHLIN: No other questions.                     24                                      Reporter-Notary Public
                                                                                                                 My Commission Expires
25                 MR. WHITE: Nothing else.                              25                                      January 28, 2025

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1                  MR. GRYSKEWICZ: I think that's it.
2                  MR. WHITE: All right. You're done.
3                  (Whereupon, the deposition was concluded at
4    11:23 a.m.)
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